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12                           UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
13                               LOS ANGELES DIVISION
14
      HARVEST ROCK CHURCH, INC., and
15    HARVEST INTERNATIONAL
      MINISTRY, INC., itself and on behalf
16    of its member churches in California,
17                                   Plaintiffs,
                                                       Case No.
18    v.
19    GAVIN NEWSOM, in his                             VERIFIED COMPLAINT
      official capacity as Governor of the
20    State of California,
21                                   Defendant.
22

23

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 1                        “Neither a state nor the Federal Government
                     can set up a church. . . . Neither can force nor influence
 2              a person to go to or to remain away from church against his will.”
                   Everson v. Bd. of Educ. of Ewing Twp., 330 U.S. 1, 15 (1947).
 3

 4        VERIFIED COMPLAINT FOR TEMPORARY RESTRAINING ORDER,
              PRELIMINARY AND PERMANENT INJUNCTIVE RELIEF,
 5                  DECLARATORY RELIEF, AND DAMAGES

 6         For their Verified Complaint against Defendant, GAVIN NEWSOM, in his official
 7    capacity as Governor of the State of California, Plaintiffs, HARVEST ROCK CHURCH,
 8    INC., and HARVEST INTERNATIONAL MINISTRY, INC., itself and on behalf of its
 9    member churches in California, allege and aver as follows:
10          URGENCIES JUSTIFYING TEMPORARY RESTRAINING ORDER
11         1.     In their Prayer for Relief, infra, and in the contemporaneously filed Motion
12    for Temporary Restraining Order (TRO), Plaintiffs seek a TRO and preliminary
13    injunction restraining enforcement against Plaintiffs of the various COVID-19 orders
14    issued by Governor Newsom and other State officials—
15         —Prohibiting gathering for any indoor worship services in over 30 counties in
16    California (including those where many of Plaintiffs’ churches are located) and, in the
17    counties where indoor worship is not totally prohibited, prohibiting gathering for indoor
18    worship with 101 or more individuals, or at over 25% capacity (whichever is lower);
19         —Prohibiting singing or chanting during religious worship in counties where
20    indoor worship remains permissible;
21         —Prohibiting gatherings inside private homes for small-group Bible studies
22    and worship services; and
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 1         —Imposing discriminatory and disparate prohibitions on the types of activities that

 2    Plaintiffs may engage in at their own church buildings, as the orders allow Plaintiffs to

 3    feed the hungry, clothe the naked, house the homeless, and provide other material social

 4    services to an unlimited number of individuals with unlimited volunteers in a single

 5    church building, but the Orders prohibit Plaintiffs from engaging in a religious

 6    worship service with the same individuals in the same church building, on pain of

 7    criminal penalties. A TRO and preliminary injunction are necessary to protect these

 8    vitally important and constitutionally protected liberties, even in the midst of disease.

 9         2.     Additionally, while the Governor has unilaterally and significantly restricted

10    the number of individuals permitted to “gather” in Plaintiffs’ churches, he has imposed

11    no similar restrictions on the untold thousands of protesters who have gathered all

12    throughout California cities with no threat of criminal sanction, and no social distancing

13    or restrictions whatsoever. And, the Governor explicitly encouraged such large

14    gatherings of protesters while condemning churches for signing hymns in their

15    churches.

16         3.     At around the same time that Governor Newsom’s Executive Orders and the

17    State’s Public Health Orders regarding COVID-19 were being used to threaten criminal

18    sanctions on Plaintiffs’ pastors, officials in other jurisdictions had similarly threatened

19    to impose criminal sanctions on other religious gatherings. Twice in two weeks the Sixth

20    Circuit Court of Appeals enjoined enforcement of executive orders like the Governor’s

21    orders, determining that restrictions on drive-in and in-person worship services violate

22    the First Amendment. See Roberts v. Neace, 958 F.3d 409 (6th Cir. 2020) (in-person

23    worship services); Maryville Baptist Church, Inc. v. Beshear, 957 F.3d 610 (6th Cir.

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 1    2020) (holding plaintiffs likely to succeed on merits of First Amendment and Kentucky

 2    RFRA claims for both drive-in and in-person services). Also, in First Pentecostal

 3    Church v. City of Holly Springs, Miss., 959 F.3d 669 (5th Cir. 2020), the Fifth Circuit

 4    Court of Appeals granted an IPA to a Mississippi church, enjoining enforcement of the

 5    Mississippi Governor’s order restricting worship.

 6         4.     In Roberts, the Sixth Circuit granted an IPA enjoining the Kentucky

 7    Governor from enforcing executive orders prohibiting a church’s in-person worship

 8    services when “serial exemptions for secular activities pose comparable public health

 9    risks.” 958 F.3d at 414. In determining the plaintiffs’ likely success on the merits of their

10    free exercise claims, the court recognized, “On one side of the line, a generally applicable

11    law that incidentally burdens religious practice usually will be upheld.” Id. at 413 (citing

12    Emp’t Div. v. Smith, 494 U.S. 872, 879–79 (1990)). But, the court concluded the

13    Kentucky orders “likely fall on the prohibited side of the line,” where “a law that

14    discriminates against religious practices usually will be invalidated because it is the rare

15    law that can be ‘justified by a compelling interest and is narrowly tailored to advance

16    that interest.’” Id. (quoting Church of the Lukumi Babalu Aye, Inc. v. City of Hialeah,

17    508 U.S. 520, 553 (1993)).

18         5.     Expanding on the problems with Kentucky’s orders, the court explained,

19                Do the four pages of exceptions in the orders, and the kinds
                  of group activities allowed, remove them from the safe
20                harbor for generally applicable laws? We think so. As a rule
                  of thumb, the more exceptions to a prohibition, the less likely it
21                will count as a generally applicable, non-discriminatory law. At
                  some point, an exception-ridden policy takes on the
22                appearance and reality of a system of individualized
                  exemptions, the antithesis of a neutral and generally
23                applicable policy and just the kind of state action that must
                  run the gauntlet of strict scrutiny.
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 1   Id. at 413–14 (cleaned up) (emphasis added).

 2          6.    Continuing, the court reasoned, “Assuming all of the same precautions are

 3    taken, why can someone safely walk down a grocery store aisle but not a pew? And why

 4    can someone safely interact with a brave deliverywoman but not with a stoic minister?

 5    The Commonwealth has no good answers.” Id. at 414. Thus, the court rejected the

 6    Governor’s suggestion “that the explanation for these groups of people to be in the same

 7    area—intentional worship—creates greater risks of contagion than groups of people, say,

 8    in an office setting or an airport,” id. at 416, further explaining,

 9                the reason a group of people go to one place has nothing to do
                  with it. Risks of contagion turn on social interaction in close
10                quarters; the virus does not care why they are there. So long as
                  that is the case, why do the orders permit people who practice
11                social distancing and good hygiene in one place but not another
                  for similar lengths of time? It’s not as if law firm office meetings
12                and gatherings at airport terminals always take less time than
                  worship services.
13

14    Id.

15          7.    The Roberts court also rejected the notion that the Governor’s orders were

16    justified because congregants could simply worship online via Facebook, reasoning,

17                Who is to say that every member of the congregation has access
                  to the necessary technology to make that work? Or to say that
18                every member of the congregation must see it as an adequate
                  substitute for what it means when “two or three gather in my
19                Name,” Matthew 18:20, or what it means when “not forsaking
                  the assembling of ourselves together,” Hebrews 10:25.
20
                  [T]he Free Exercise Clause does not protect sympathetic
21                religious practices alone. And that’s exactly what the federal
                  courts are not to judge—how individuals comply with their own
22                faith as they see it.
23    Id. at 415 (citation omitted).

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 1         8.    In awarding the injunction, the Roberts court brought into sharp relief the

 2    Kentucky Governor’s disparate treatment of churchgoers under his orders:

 3               Keep in mind that the Church and its congregants just want to be
                 treated equally. . . . They are willing to practice social distancing.
 4               They are willing to follow any hygiene requirements. . . . The
                 Governor has offered no good reason for refusing to trust the
 5               congregants who promise to use care in worship in just the
                 same way it trusts accountants, lawyers, and laundromat
 6               workers to do the same.
 7               Come to think of it, aren’t the two groups of people often the
                 same people—going to work on one day and going to worship
 8               on another? How can the same person be trusted to comply
                 with social-distancing and other health guidelines in secular
 9               settings but not be trusted to do the same in religious
                 settings? The distinction defies explanation, or at least the
10               Governor has not provided one.
11    Id. at 414 (emphasis added).

12         9.    A week after the Sixth Circuit’s Roberts decision, the Eastern District of

13    North Carolina issued a TRO enjoining the North Carolina Governor from enforcing a

14    10-person limit on religious worship because it violated the Free Exercise Clause. See

15    Berean Baptist Church v. Cooper, No. 4:20-cv-81-D, 2020 WL 2514313 (E.D.N.C. May

16    16, 2020) [hereinafter Berean Baptist]. In granting the TRO, the court noted upfront,

17    “There is no pandemic exception to the Constitution of the United States or the Free

18    Exercise Clause of the First Amendment.” 2020 WL 2514313, at *1 (emphasis added).

19         10.   The North Carolina “stay-at-home” orders challenged in Berean Baptist

20    provided exemptions from their 10-person gathering limits for numerous “Essential

21    Business and Operations.” Id. at *3. But, the North Carolina orders subjected worship

22    services to a 10-person limit that was not imposed on any of the myriad “Essential”

23    businesses and activities. 2020 WL 2514313, at *4. The Berean Baptist court observed

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 1    that the uniquely restrictive 10-person limit for worship gatherings “represent[s]

 2    precisely the sort of ‘subtle departures from neutrality’ that the Free Exercise Clause is

 3    designed to prevent.” Id. at *6 (quoting Gillette v. United States, 401 U.S. 437, 452

 4    (1971)).

 5         11.    The court observed further,

 6                Eleven men and women can stand side by side working indoors
                  Monday through Friday at a hospital, at a plant, or at a package
 7                distribution center and be trusted to follow social distancing and
                  hygiene guidance, but those same eleven men and women cannot
 8                be trusted to do the same when they worship inside together on
                  Saturday or Sunday. “The distinction defies explanation . . . .”
 9

10    Id. at *8 (quoting Roberts, 958 F.3d at 414).

11         12.    Thus, the court concluded, “These glaring inconsistencies between the

12    treatment of religious entities and individuals and non-religious entities and individuals

13    take [the orders] outside the ‘safe harbor for generally applicable laws.’” Id. (quoting

14    Roberts, 958 F.3d at 413).

15         13.    Ultimately, in concluding the North Carolina orders could not pass strict

16    scrutiny, the Berean Baptist court recognized that the plaintiffs “simply want the

17    Governor to afford them the same treatment as they and their fellow non-religious

18    citizens receive when they work at a plant, clean an office, ride a bus, shop at a store, or

19    mourn someone they love at a funeral.” Id. at *9 (citing Lukumi, 508 U.S. at 546 (“The

20    proffered objectives are not pursued with respect to analogous non-religious conduct,

21    and those interests could be achieved by narrower ordinances that burdened religion to a

22    far lesser degree.”)).

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 1         14.    In Louisville, Kentucky, the government threatened to use police to impose

 2    criminal sanctions on those individuals found in violation of similar COVID-19 orders

 3    and threatened to impose various sanctions on individuals found in violation of such

 4    orders. The United States District Court for the Western District of Kentucky found that

 5    the mere threat of such criminal sanction warranted a TRO. See On Fire Christian

 6    Center, Inc. v. Fischer, No. 3:20-cv-264-JRW, 2020 WL 1820249 (W.D. Ky. Apr. 11,

 7    2020) [hereinafter On Fire]. The On Fire TRO enjoined the Mayor of Louisville from

 8    “enforcing, attempting to enforce, threatening to enforce, or otherwise requiring

 9    compliance with any prohibition on drive-in church services at On Fire.” Id. at *1

10    (emphasis added).

11         15.    Additionally, the Governor of Kansas had imposed a similar restriction on

12    religious gatherings in Kansas, stating that “gatherings” of more than 10 individuals are

13    prohibited, including religious gatherings. On April 18, 2020, the United States District

14    for the District of Kansas issued a TRO enjoining Kansas officials from enforcing its

15    discriminatory prohibition on religious gatherings and required the government to treat

16    “religious” worship services the same as other similar gatherings that are permitted. See

17    First Baptist Church. v. Kelly, No. 20-1102-JWB, 2020 WL 1910021, *6–7 (D. Kan.

18    Apr. 18, 2020) [hereinafter First Baptist]. The First Baptist TRO specifically stated that

19    the government’s disparate treatment of religious gatherings was a violation of the Free

20    Exercise Clause because it showed that “religious activities were specifically targeted

21    for more onerous restrictions than comparable secular activities,” and that the

22    churches had shown irreparable harm because they would “be prevented from gathering

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 1    for worship at their churches” during the pendency of the executive order. Id. at *7–8

 2    (emphasis added).

 3         16.    In discussing the Kansas orders, which imposed a 10-person limit on in-

 4    person gatherings, the court said that specifically singling out religious gatherings for

 5    disparate treatment while permitting other non-religious activities “show[s] that these

 6    executive orders expressly target religious gatherings on a broad scale and are, therefore,

 7    not facially neutral,” First Baptist, 2020 WL 1910021, at *7, and—much like here—

 8    “churches and religious activities appear to have been singled out among essential

 9    functions for stricter treatment. It appears to be the only essential function whose core

10    purpose—association for the purpose of worship—had been basically eliminated.” Id.

11    (emphasis added). Thus, the court found that a TRO was necessary and that Kansas

12    should be enjoined from enforcing its orders’ disparate terms against churches. Indeed,

13    “it goes without saying that the government could not lawfully expressly prohibit

14    individuals from meeting together for religious services.” Id. at *6 (emphasis added).

15         17.    Also, several courts have found that the government’s open encouragement

16    of protesters flouting the various COVID-19 gathering restrictions across the country and

17    the concomitant refusal by government officials to impose similar threats of criminal

18    sanctions upon such massive gatherings while simultaneously threatening religious

19    worship services that exceed the arbitrary numerical limitations represents a gross

20    violation of the First Amendment.

21         18.    The constitutional incongruity of Governor Newsom’s encouragement of

22    protesters while restricting worshippers was highlighted by Judge Ho of the Fifth Circuit

23    in his concurrence in Spell v. Edwards, 962 F.3d 175 (5th Cir. 2020), where the court

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 1     dismissed as moot an appeal arising from a church’s challenge to Louisiana’s stay-at-

 2     home orders restricting worship services to 10 people. 962 F.3d at 177. Judge Ho first

 3     recounted,

 4                  At the outset of the pandemic, public officials declared that
                    the only way to prevent the spread of the virus was for everyone
 5                  to stay home and away from each other. They ordered citizens to
                    cease all public activities to the maximum possible extent—even
 6                  the right to assemble to worship or to protest
 7     Id. at 180-81 (Ho., J., concurring).

 8          19.     Then, he observed, “But circumstances have changed. In recent weeks,

 9     officials have not only tolerated protests—they have encouraged them . . . .” Id. at 181.

10     And he posed a question:

11                  For people of faith demoralized by coercive shutdown policies,
                    that raises a question: If officials are now exempting protesters,
12                  how can they justify continuing to restrict worshippers? The
                    answer is that they can’t. Government does not have carte
13                  blanche, even in a pandemic, to pick and choose which First
                    Amendment rights are “open” and which remain “closed.”
14

15     Id. (emphasis added).

16          20.     Judge Ho noted that, “To survive First Amendment scrutiny, however, those

17     orders must be applied consistently, not selectively. And it is hard to see how that rule is

18     met here [in light] of the recent protests.” Id. at 182.

19          21.     He continued, “It is common knowledge, and easily proved, that protesters

20     do not comply with social distancing requirements. But instead of enforcing the

21     Governor’s orders, officials are encouraging the protests—out of an admirable, if

22     belated, respect for First Amendment rights.” Id.

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 1          22.    As the Constitution demands, Justice Ho explained that: “If protests are

 2     exempt from social distancing requirements, then worship must be too.” Id. (emphasis

 3     added).

 4          23.    Of particular relevance to Plaintiffs’ claims herein, Judge Ho cited a brief

 5     filed by the United States in another case against Governor Newsom in observing that

 6     “California’s political leaders have expressed support for such peaceful protests and,

 7     from all appearances, have not required them to adhere to the now-operative 100-person

 8     limit . . . . It could raise First Amendment concerns if California were to hold other

 9     protests to a different standard.” Id. (emphasis added). Indeed, the same principle

10     Governor Newsom applies to protesters “should apply to people of faith.” Id. (emphasis

11     added).

12          24.    Much like the Governor here, “support for the protests reflects a

13     commendable commitment to equality. But public officials cannot devalue people of

14     faith while elevating certain protesters. That would offend the First Amendment—not to

15     mention the principle of equality for which the protests stand.” Id. at 183 (emphasis

16     added).

17          25.    As Judge Ho stated, “The point here is that state and local officials gave

18     [protesters] the choice,” to ignore the prohibitions on gathering. Id. “Those officials took

19     no action when protesters chose to ignore health experts and violate social distancing

20     rules. And that forbearance has consequences.” Id. (emphasis added).

21          26.    The consequences Judge Ho referred to are that,

22                 The First Amendment does not allow our leaders to decide which
                   rights to honor and which to ignore. In law, as in life, what’s good
23                 for the goose is good for the gander. In these troubled times,
                   nothing should unify the American people more than the
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                     principle that freedom for me, but not for thee, has no place
 1                   under our Constitution.
 2     Id. (emphasis added).

 3             27.   Similarly, as recounted in Soos v. Cuomo, No. 1:20-cv-651 (GLS/DJS), 2020

 4     WL 3488742 (N.D.N.Y. June 26, 2020), the Governor of New York and the New York

 5     City Mayor openly encouraged protesters gathering in large numbers in New York, 2020

 6     WL 3488742, *4–5, while continuing to prohibit in-person religious gatherings. Id. at

 7     *5-6.

 8             28.   The Northern District of New York issued a preliminary injunction enjoining

 9     the enforcement of the “ever changing maximum number of people” for religious

10     worship because the disparate treatment for protesters as compared to religious

11     congregants in worship services violated the First Amendment. Id. at *8 (“[I]t is plain to

12     this court that the broad limits of that executive latitude have been exceeded.”).

13             29.   The court found that a restriction of 25% capacity for indoor worship services

14     that is not applied equally to non-religious businesses and certainly not applied to

15     protesters removes the law from general applicability and thus mandates strict scrutiny.

16     Id. at *11.

17             30.   With respect to openly supporting protesters, rioters, and looters while

18     imposing draconian restrictions on indoor religious worship services, the court noted that

19     “Mayor de Blasio’s simultaneous pro-protest/anti-religious gatherings message . . .

20     clearly undermines the legitimacy of the proffered reason for what seems to be a clear

21     exemption, no matter the reason.” Id., at *12.

22             31.   Indeed,

23                   Governor Cuomo and Mayor de Blasio could have just as easily
                     discouraged protests, short of condemning their message, in the
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                   name of public health and exercised discretion to suspend
 1                 enforcement for public safety reasons instead of encouraging
                   what they knew was a flagrant disregard of the outdoor limits and
 2                 social distancing rules. They could have also been silent. But, by
                   acting as they did, Governor Cuomo and Mayor de Blasio
 3                 sent a clear message that mass protests are deserving of
                   special treatment.
 4

 5     Id. at *12 (emphasis added).

 6          32.    Because the government in New York treated protesters differently and more

 7     favorably than religious gatherings, the court held that such disparate treatment violated

 8     the Free Exercise Clause and issued a preliminary injunction. Id. at *13.

 9          33.    The same result should obtain here. The Governor’s orders impose

10     disparately onerous prohibitions and numerical restrictions on religious gatherings in

11     churches, and even on in-home Bible studies, worship meetings, and life groups.

12     Moreover, the orders purport to dictate the manner in which Plaintiffs may engage in

13     acceptable religious worship by prohibiting singing and chanting where indoor worship

14     is allowed, and by allowing provision and receipt of approved social services by

15     unlimited numbers in the same church buildings where religious worship services are

16     limited numerically or prohibited altogether. And the Governor has imposed these

17     draconian restrictions on Plaintiffs while openly celebrating and encouraging mass

18     gatherings for protests. The Constitution demands more and so should this Court.

19                                       INTRODUCTION
20          34.    Due to the unprecedented nature of COVID-19 and the health tragedy the

21     disease has wrought on our great Republic and those victims suffering under its yoke,

22     there are those who may find it “tempting to hold that First Amendment rights should

23     acquiesce to national security in this instance.” Tobey v. Jones, 706 F.3d 379, 393 (4th

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 1     Cir. 2013). One could be forgiven for hastily reaching such a conclusion in such uncertain

 2     times, but “our Forefather Benjamin Franklin warned against such a temptation by

 3     opining that those who can give up essential liberty to obtain a little temporary safety,

 4     deserve neither liberty nor safety.” Id.

 5          35.       When the great American experiment was first implemented, our revered

 6     Founders took pains to note that the Constitution—and all of the rights it recognized and

 7     enshrined—was instituted “in order to form a more perfect Union, establish Justice,

 8     insure domestic Tranquility, provide for the common defense, promote the general

 9     Welfare, and secure the Blessings of Liberty to ourselves and our Posterity.” U.S. Const.

10     Pmbl. (emphasis added). To this very day, “we continue to strive toward ‘[that] more

11     perfect union.’” Smith v. City of New Smyrna Beach, No. 6:110cv01110-Orl-37KRS,

12     2013 WL 5230659, *1 (M.D. Fla. Sept. 16, 2013). That work is not easy, and

13     governments can and sometimes do miss the mark. This is such a case.

14          36.       Recognizing that times of crisis would arise, that such times might lead

15     governments to seek to repress precious freedoms, and that the Republic’s survival

16     depended upon defeating such repressive instincts, the genius of our founding document

17     is that it placed explicit protections into the text of the Bill of Rights. And, importantly,

18     “[o]ur Bill of Rights placed our survival on firmer ground—that of freedom, not

19     repression.” Konigsberg v. State Bar of California, 366 U.S. 36, 79 (1961) (Black, J.,

20     dissenting).

21          37.       During times of national crisis, such as the current uncertainty arising from

22     COVID-19, “the fog of public excitement obscures the ancient landmarks set up in our

23     Bill of Rights.” American Communist Ass’n, C.I.O. v. Douds, 339 U.S. 382, 453 (1950)

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 1     (Black, J., dissenting). But, where the fog of public excitement is at its apex, “the more

 2     imperative is the need to preserve inviolate the constitutional rights of free speech, free

 3     press and free assembly.” De Jonge v. Oregon, 299 U.S. 353, 365 (1937). Without doubt,

 4     “[t]herein lies the security of the Republic, the very foundation of constitutional

 5     government.” Id.

 6          38.    It is beyond cavil that our commitment to our founding principles is most

 7     tested and best calculated during times of crisis and uncertainty. Indeed, “[t]imes of crisis

 8     take the truest measure of our commitment to constitutional values. Constitutional

 9     values are only as strong as our willingness to reaffirm them when they seem most

10     costly to bear.” Hartness v. Bush, 919 F.2d 170, 181 (D.C. Cir. 1990) (Edwards, J.,

11     dissenting) (emphasis added). Our willingness to reaffirm our staunch commitment to

12     our fundamental freedoms is imperative to the very survival of the American experiment.

13     For, “[h]istory reveals that the initial steps in the erosion of individual rights are usually

14     excused on the basis of an ‘emergency’ or threat to the public. But the ultimate strength

15     of our constitutional guarantees lies in the unhesitating application in times of crisis

16     and tranquility alike.” United States v. Bell, 464 F.2d 667, 676 (2d Cir. 1972)

17     (Mansfield, J., concurring) (emphasis added).

18          39.    Plaintiffs bring this case to restrain the troubling transgression of their

19     fundamental and cherished liberties wrought by the imposition of Governor Newsom’s

20     orders contrived from COVID-19. Plaintiffs seek not to discredit or discard the

21     government’s unquestionable interest in doing that task for which it was instituted—

22     protecting the citizenry. But, as is often true in times of crisis, Plaintiffs respectfully

23     submit that the Governor has transgressed a line the Constitution does not permit.

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 1     Because of that, Plaintiffs bring this action to ensure that this Court safeguards the

 2     cherished liberties for which so many have fought and died. For, “[i]f the provisions of

 3     the Constitution be not upheld when they pinch as well as when they comfort, they may

 4     as well be discarded.” Home Bldg. & Loan Ass’n v. Blaisdell, 290 U.S. 398, 483 (1934)

 5     (Sutherland, J., dissenting) (emphasis added). Plaintiffs pray unto the Court that it not

 6     permit the cherished and fundamental liberties enshrined in the Constitution to be another

 7     tragic casualty of COVID-19.

 8                                            PARTIES
 9          40.    Plaintiff HARVEST ROCK CHURCH, INC. (“Harvest Rock”) is a domestic

10     nonprofit corporation incorporated under the laws of the State of California with its

11     principal place of business Pasadena, California, and with campuses in several other

12     localities in California.

13          41.    Plaintiff HARVEST INTERNATIONAL MINISTRY, INC. (“Harvest

14     International”) is a domestic nonprofit corporation incorporated under the laws of the

15     State of California with its principal place of business in Pasadena, California, and with

16     162 member churches in the State of California. Harvest International brings this action

17     for itself and on behalf of its member churches in California.

18          42.    Defendant, GAVIN NEWSOM, is the Governor of California, with authority

19     to sue and be sued, and is responsible for enacting and enforcing the COVID-19

20     executive orders and directives at issue in this litigation. The enforcement of the COVID-

21     19 orders and directives is under the Governor’s authority and under the direct

22     supervision of the Governor’s Office of Emergency Services. Governor Newsom is sued

23     in his official capacity.

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 1                                  JURISDICTION AND VENUE
 2          43.    This action arises under the First and Fourteenth Amendments to the United

 3     States Constitution and is brought pursuant to 42 U.S.C. § 1983.

 4          44.    This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331

 5     and 1343.

 6          45.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) because a

 7     substantial part of the events or omissions giving rise to Plaintiffs’ claims occurred in

 8     this district, and pursuant to 28 U.S.C. § 1391(b)(3) because the Governor is subject to

 9     personal jurisdiction in this Court.

10          46.    This Court is authorized to grant declaratory relief under the Declaratory

11     Judgment Act, 28 U.S.C. §§ 2201–02, implemented through Rule 57 of the Federal Rules

12     of Civil Procedure, and is authorized to grant TRO and injunctive relief pursuant to Rule

13     65 of the Federal Rules of Civil Procedure.

14          47.    This Court is authorized to grant Plaintiffs’ prayer for relief regarding costs,

15     including a reasonable attorney’s fee, pursuant to 42 U.S.C. § 1988.

16                                   GENERAL ALLEGATIONS
17          A.     PLAINTIFFS’ CHURCHES AND THEIR RELIGIOUS MINISTRIES.
18          48.    Harvest Rock has numerous church campuses, including in Pasadena, Irvine,

19     and Corona. Harvest Rock has and exercises sincere religious beliefs that it is to minister

20     the Gospel of Jesus Christ to its members and attendees at its facilities, that it cannot

21     fulfill its vital ministry and sincere religious beliefs without gathering together in person,

22     and cannot effectively engage in its constitutionally protected free exercise of religion

23     on the Internet.

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 1          49.    Harvest Rock has and exercises sincere religious beliefs that a Church is

 2     fundamentally a communal and associational body of Believers in Jesus Christ that must

 3     gather together in order to fulfill the vital requirements of scriptural commands. Put

 4     simply, Harvest Rock has and exercises sincere religious beliefs that failure to gather

 5     together in person for religious worship services in which its members and congregants

 6     may worship the Lord, receive biblical teaching, and minister to one another’s needs is

 7     disobedience to the Lord for which they will be held divinely accountable.

 8          50.    In fact, Harvest Rock has and exercises a sincere religious belief that failure

 9     to abide by Scripture’s command that it gather its congregants together to worship the

10     Lord is disobedience to the Lord for which its pastors will be held divinely accountable.

11     Harvest Rock has and exercises sincere religious beliefs that it must adhere to all

12     scriptural commands, and that failure to do so will result in the strictest of divine

13     judgment for its pastors and leaders. See Hebrews 3:17; James 3:1.

14          51.    As part of its religious mission, Harvest Rock has a ministry at its church

15     called the Hope Center, which is staffed by church leaders and volunteers. The Hope

16     Center provides support for those with financial, familial, emotional, and spiritual needs

17     in its communities. Harvest Rock has and exercises sincere religious beliefs that

18     Scripture commands it to feed the hungry, give water to the thirsty, clothe the naked,

19     house the homeless, and counsel the afflicted. All of these ministries have been impacted

20     by the Governor’s COVID-19 Orders.

21          52.    As part of the exercise of its sincerely held religious beliefs, Harvest Rock’s

22     Church campuses also have numerous Life Groups, which meet in the homes of members

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 1     of the Church to worship together, engage in Bible study, fellowship with one another,

 2     and minister to the needs of each other.

 3          53.    Harvest Rock has and exercises sincere religious beliefs that it is to raise up

 4     disciples and launch reformers through families, for the purpose of advancing the

 5     Kingdom of God. Harvest Rock has and exercises a sincere religious belief that Life

 6     Groups are an essential way for the church to fulfill its mission and to foster a healthy,

 7     vibrant, and growing Church community such that its members can gather together to

 8     grow in the Lord, mature in their faith, and understand the Scriptures better.

 9          54.    Harvest International has 162 member churches in California, and each of

10     these churches has and exercises the sincere religious beliefs that the church is to minister

11     the Gospel of Jesus Christ to its members and attendees at its facilities, that it cannot

12     fulfill its vital ministry and sincere religious beliefs without gathering together in person,

13     and that it cannot effectively engage in its constitutionally protected free exercise of

14     religion on the Internet.

15          55.    Many of Harvest International’s member churches in California have

16     programs that provide food support for the hungry, financial and ministry support for

17     those in need, and also biblical and social-service-type counseling for members of their

18     communities throughout California. These churches also have and exercise sincere

19     religious beliefs that Scripture commands them to feed the hungry, give water to the

20     thirsty, clothe the naked, house the homeless, and counsel the afflicted. All of these

21     ministries have been impacted by the Governor’s COVID-19 orders.

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 1          56.    Many of Harvest International’s member churches in California also have

 2     smaller groups that meet in the homes of their members to worship together, engage in

 3     Bible study, fellowship with one another, and minister to the needs of the group.

 4          57.    Harvest International’s member churches in California have and exercise

 5     sincere religious beliefs that a Church is fundamentally a communal and associational

 6     body of Believers in Jesus Christ that must gather together in order to fulfill the vital

 7     requirements of scriptural commands. Put simply, Harvest International’s member

 8     churches in California have and exercise sincere religious beliefs that failure to gather

 9     together in person for religious worship services in which their members and congregants

10     may worship the Lord, receive biblical teaching, and minister to one another’s needs is

11     disobedience to the Lord for which they will be held divinely accountable.

12          58.    In fact, Harvest International’s member churches in California have and

13     exercise a sincere religious belief that failure to abide by Scripture’s command that they

14     gather together to worship the Lord, is a sin for which their Pastors will be held divinely

15     accountable. Harvest International’s member churches in California have and exercise

16     sincere religious beliefs that they must adhere to all scriptural commands, and that failure

17     to do so will result in the strictest of divine judgment for their pastors and leaders. See

18     Hebrews 3:17; James 3:1.

19          59.    Plaintiffs and their churches all have and exercise sincere religious beliefs

20     that they are to “sing to the LORD” and “[d]eclare his glory among the nations.” Psalm

21     96:1–2 (ESV).

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 1            60.     Plaintiffs and their churches all have and exercise sincere religious beliefs

 2     that they are to “make a joyful noise” to the Lord, Psalm 95:1 (ESV), through singing

 3     and chanting His praises.

 4            61.     Plaintiffs and their churches all have and exercise sincere religious beliefs

 5     that they are to “sing to the LORD as long as I live.” Psalm 104:33 (ESV).

 6            62.     Plaintiffs and their churches all have and exercise sincere religious beliefs

 7     that not only are they to sing to the Lord, also to “declare [His] name unto my brethren,”

 8     and that “in the midst of the church will [they] sing praise” to the Lord. Hebrews 2:12

 9     (KJV) (emphasis added).

10            63.     Plaintiffs and their churches all have and exercise sincere religious beliefs

11     that, in the current times of trouble and distress, they are to sing to the Lord even more

12     and to sing aloud to Him. See Psalm 59:16 (ESV) (“I will sing aloud of your steadfast

13     love in the morning. For you have been to me a fortress and a refuge in the day of my

14     distress.”).

15            64.     Plaintiffs and their churches all have and exercise sincere religious beliefs

16     that they are to chant and shout to the Lord as well. See Psalm 33:3 (ESV) (“Sing to him

17     a new song; play skillfully on the strings, with loud shouts.” (emphasis added)).

18            65.     Plaintiffs and their churches all have and exercise sincere religious beliefs,

19     rooted in Scripture’s commands (e.g., Hebrews 10:25), that followers of Jesus Christ are

20     not to forsake the assembling of themselves together, and that they are to do so even

21     more in times of peril and crisis. Indeed, the entire purpose of the Church (in Greek

22     “ekklesia,” meaning “assembly”) is to assemble together Christians to worship Almighty

23     God.

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 1           B.     GOVERNOR NEWSOM’S EXECUTIVE ORDERS AND
                    CALIFORNIA PUBLIC HEALTH ORDERS.
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 3           66.    On March 4, 2020 the Governor issued a Proclamation proclaiming a State

 4     of Emergency existed in California due to the COVID-19 disease. A true and correct

 5     copy of that Proclamation is attached hereto as EXHIBIT A and incorporated herein.

 6           67.    On March 12, 2020 the Governor issued Executive Order N. 25-20, stating

 7     that all residents of California “are to heed any orders and guidance of state and local

 8     public health officials, including but not limited to the imposition of social distancing

 9     measures.” A true and correct copy of Executive Order N. 25-20 is attached hereto as

10     EXHIBIT B and incorporated herein.

11           68.    One week later, on March 19, 2020 the Director of the California Department

12     of Public Health, at the direction of the Governor, issued an Order of the State Public

13     Health Officer “order[ing] all individuals living in the State of California to stay home

14     or at their residence except as needed to maintain continuity of operations of the federal

15     critical infrastructure sectors.” A true and correct copy of the March 19, 2020 Public

16     Health Order (the “Stay-at-Home Order”) is attached hereto as EXHIBIT C and

17     incorporated herein.

18           69.    The Stay-at-Home Order became effective immediately and remains “in

19     effect until further notice,” and is still in effect.

20           70.    The “federal critical infrastructure sectors” adopted and incorporated into the

21     Stay-at-Home Order as exempt from its stay-at-home requirements, allowing

22     “Californians working in these 16 critical infrastructure sectors [to] continue their work,”

23     are the 16 critical infrastructure sectors identified by the U.S. Department of Homeland

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 1     Security Cybersecurity and Infrastructure Security Agency (CISA). A true and correct

 2     copy of CISA’s current Guidance on the Essential Critical Infrastructure Workforce,

 3     Version 3.1 (the “CISA Guidance”) is attached hereto as EXHIBIT D and incorporated

 4     herein.

 5          71.    The businesses and operations included within the 16 expansive

 6     infrastructure categories exempted by the Stay-at-Home Order include (a) businesses

 7     providing food and groceries (such as Ralphs and Trader Joe’s grocery stores, and

 8     Walmart and Costco “big-box” stores), (b) food manufacturing and warehousing, (c)

 9     organizations providing “food, shelter, and social services, and other necessities of life

10     for economically disadvantaged or otherwise needy individuals,” (d) businesses

11     providing construction materials and equipment (such as Home Depot and Lowe’s

12     warehouse stores), (e) e-commerce distribution facilities (such as Amazon.com

13     facilities), (f) bank and financial processing and service centers (such as Wells Fargo and

14     Chase centers), and (g) “radio, television, and media service” organizations (of any size),

15     and a host of other exempted businesses and operations (of any size) where large numbers

16     of individuals are permitted to gather for extended periods of time with unavoidable close

17     contact.

18          72.    The Stay-at-Home Order imposes no numerical limitations on the persons

19     working in or patronizing the exempted businesses and non-religious activities, and

20     advises only “that they should at all times practice social distancing.”

21          73.    The Stay-at-Home Order, however, does not permit people to leave their

22     homes to conduct or attend religious worship services. Thus, upon its issuances, the

23     Stay-at-Home Order imposed a total prohibition on religious worship services,

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 1     including in-home worship services, regardless of the number attending and

 2     whether social distancing or other hygiene practices were followed.

 3          74.    Also on March 19, the Governor issued Executive Order N. 33-20

 4     incorporating and putting the full power of the Governor’s Office behind the Stay-at-

 5     Home Order, directing the Governor’s Office of Emergency Services “to take necessary

 6     steps to ensure compliance” with the order, and giving notice to the public that the order

 7     is enforceable pursuant to California Government Code § 8665, which provides that

 8     violating the Governor’s orders is a misdemeanor criminal offense punishable by up to a

 9     $1,000 fine, six months in jail, or both. A true and correct copy of Executive Order N.

10     33-20 is attached hereto EXHIBIT E and incorporated herein.

11          75.    On April 14, 2020 the Governor issued his Roadmap to Modify the Stay-at-

12     Home Order, providing “California’s 6 indicators” for beginning the process of

13     reopening businesses and other entities in California. A true and correct copy of the

14     Roadmap to Modify the Stay-at-Home Order (the “Roadmap”) is attached hereto as

15     EXHIBIT F and incorporated herein.

16          76.    The Roadmap’s 6 indicators are (1) “The ability to monitor and protect our

17     communities through testing, contact tracing, isolating, and supporting those who are

18     positive or exposed;” (2) “The ability to prevent infection in people who are at risk for

19     more severe COVID-19;” (3) “The ability of the hospital and health systems to handle

20     surges;” (4) “The ability to develop therapeutics to meet the demand;” (5) “The ability

21     for businesses, schools, and child care facilities to support physical distancing;” and (6)

22     “The ability to determine when to reinstitute certain measures, such as the stay-at-home

23     orders, if necessary.”

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 1          77.   On April 28, 2020, pursuant to the Governor’s Executive Order N. 33-20

 2     ratifying the Stay-at-Home Order, the Governor released California’s own “Essential

 3     Workforce” guidance document listing businesses and operations exempt from the Stay-

 4     at-Home Order as so-called “‘Essential Critical Infrastructure Workers” to help state,

 5     local, tribal, and industry partners as they work to protect communities, while ensuring

 6     continuity of functions critical to public health and safety, as well as economic and

 7     national security.” A true and correct copy of the Governor’s “Essential Workforce

 8     Guidance” is attached hereto as EXHIBIBT G and incorporated herein.

 9          78.   The Governor’s Essential Workforce Guidance, like the previously adopted

10     CISA Guidance, identifies expansive categories of businesses and non-religious

11     activities exempted from the Stay-at-Home Order and allowed to remain open and

12     operational. The Essential Workforce Guidance includes exempt categories similar to the

13     CISA Guidance, such as (a) businesses providing food and groceries (such as Ralphs and

14     Trader Joe’s grocery stores, and Walmart and Costco “big-box” stores), (b) food

15     manufacturing and warehousing, (c) organizations providing “food, shelter, and social

16     services, and other necessities of life for economically disadvantaged or otherwise needy

17     individuals,” (d) businesses providing construction materials and equipment (such as

18     Home Depot and Lowe’s warehouse stores), (e) e-commerce distribution facilities (such

19     as Amazon.com facilities), (f) bank and financial processing and service centers (such as

20     Wells Fargo and Chase centers), and (g) “radio, television, and media service”

21     organizations (of any size), and also includes new categories not covered in the March

22     19 CISA Guidance, such as (h) “laundromats, laundry services, and dry cleaners,” (i) law

23     and accounting firms, real estate offices, and other professional services (of any size),

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 1     (j) businesses that produce, store, transport and distribute cannabis, and (k) workers

 2     supporting California’s entertainment industry, studios, and other related entertainment

 3     establishments, and a host of other exempted businesses and non-religious activities (of

 4     any size) where large numbers of individuals are permitted to gather for extended periods

 5     of time with unavoidable close contact.

 6          79.    The Governor’s April 28 Essential Workforce Guidance also exempted, for

 7     the first time, “Clergy for essential support and faith-based services,” but imposed a

 8     unique qualifier on religious worship not applicable to other “Essential” services,

 9     limiting “faith-based services” to those “that are provided through streaming or other

10     technologies that support physical distancing and state public health guidelines.”

11          80.    On May 7, 2020 the Public Health Director issued a new Public Health Order

12     identifying four stages of reopening and authorizing the gradual movement from Stage 1

13     to Stage 2. A true and correct copy of the May 7 Public Health Order (the “Stage 2

14     Order”) is attached hereto as EXHIBIT H and incorporated herein.

15          81.    The Stage 2 Order identified the following stages: (Stage 1) safety and

16     preparation; (Stage 2) reopening of lower-risk workplaces and other spaces; (Stage 3)

17     reopening of higher-risk workplaces and other spaces; and (Stage 4) easing of final

18     restrictions leading to the end of the Stay-at-Home Order.

19          82.    The Stage 2 Order advised that “sectors, businesses, establishments, or

20     activities that are permitted to open will be designated” on the California COVID-19

21     “Roadmap” website, on an ongoing basis. The Stage 2 re-openings designated on the

22     Roadmap website include “retail, related logistics and manufacturing, office workplaces,

23     limited personal services, outdoor museums, child care, and essential businesses . . . with

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 1     modifications.” A true and correct copy of the Roadmap designations is attached hereto

 2     as EXHIBIT I and incorporated herein.

 3          83.     The Stage 2 Order authorizes Californians to “leave their homes to work at,

 4     patronize, or otherwise engage with [the designated] businesses, establishments, or

 5     activities, subject only to “physical distancing, minimize[ing] their time outside of the

 6     home, and wash[ing] their hands frequently.” The May 7 Stage 2 Order otherwise left in

 7     effect the Stay-at-Home Order prohibiting Californians from leaving their homes to

 8     attend religious worship services.

 9          84.     On May 25, 2020 the Governor issued his Guidance for Places of Worship

10     and Providers of Religious Services and Cultural Ceremonies. A true and correct copy

11     of the “May 25 Worship Guidance” is attached hereto as EXHIBIT J and incorporated

12     herein.

13          85.     For all places of worship, including Plaintiffs and their churches, the May 25

14     Worship Guidance authorizes resuming in-person religious worship services on the

15     condition that attendance is limited to “25% of building capacity or a maximum of 100

16     attendees, whichever is lower” after “a county public health department’s approval of

17     religious services . . . within their jurisdictions.”

18          86.     The May 25 Worship Guidance also imposed significant restrictions (some

19     obligatory, some suggested) on places of worship, including temperature screenings

20     upon entering a church, eye-protection and gloves for workers, face coverings for

21     employees, volunteers, and attendees, posting signage throughout the facility to inform

22     attendees of the face covering and glove requirements, discouraging use of shared items

23     such as Scriptures and Hymnals, discontinuing use of offering plates, discouraging

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 1     handshakes or hugging of any kind, discontinuing singing, group recitation, and similar

 2     practices, and many other restrictions not imposed on “Essential” businesses and non-

 3     religious activities.

 4          87.     On July 1, 2020 the Governor issued a revised Guidance for Places of

 5     Worship. A true and correct copy of the “July 1 Worship Guidance” is attached hereto

 6     as EXHIBIT K and incorporated herein.

 7          88.     The July 1 Worship Guidance largely mirrored the May 25 Worship

 8     Guidance, but imposed mandatory requirements on places of worship that were merely

 9     suggested in the prior version.

10          89.     For example, the July 1 Worship Guidance states unequivocally: “Places of

11     worship must therefore discontinue singing and chanting activities and limit indoor

12     attendance to 25% of building capacity or a maximum of 100 attendees, whichever

13     is lower.” (Bold emphasis added). The July 1 Worship Guidance also restricts outdoor

14     worship services by requiring, “[a]t a minimum, . . . strict physical distancing measures

15     of a minimum of six feet between attendees from different households.”

16          90.     Thus, the July 1 Worship Guidance imposes numerical and size restrictions

17     on both indoor and outdoor worship which are not imposed on other “Essential”

18     businesses and non-religious activities.

19          91.     On July 6, 2020 the Governor issued yet another revised Guidance for Places

20     of Worship. A true and correct copy of the “July 6 Worship Guidance” is attached hereto

21     as EXHIBIT L and incorporated herein.

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 1          92.   The July 6 Worship Guidance retained the mandatory numerical restrictions

 2     for indoor and outdoor worship, but changed the singing and chanting prohibition to

 3     apply only indoors.

 4          93.   Each of the evolving Worship Guidance documents equated the COVID-19

 5     risks at places of worship with the COVID-19 risks at “Essential” businesses and non-

 6     religious operations such as “food production, warehouses, meat processing plants, and

 7     grocery stores,” all of which “Essential” entities are exempt from the unique numerical

 8     restrictions and other prohibitions imposed on the core activities of places of religious

 9     worship.

10          94.   On July 13, 2020, after permitting Plaintiffs and other houses of worship to

11     reopen subject to the restrictions of the evolving Worship Guidance documents, and

12     subject to obtaining the approval of local officials who could tell them whether

13     worship services were permissible at all, the Governor announced that 30 counties in

14     the State were being returned to Stage 1 and that in-person worship services would no

15     longer be permitted in any of those counties.

16          95.   Also, on July 13, 2020, pursuant to the Governor’s public announcement, the

17     Public Health Officer issued a Public Health Order closing indoor operations throughout

18     the state for businesses such as bars, pubs, breweries, and restaurants, and ordering the

19     additional closure, in counties on the California Department of Public Health (CDPH)

20     County Monitoring List, of “Gyms and Fitness Centers[,] Places of Worship[,]

21     Protests[,] Offices for Non-Critical Infrastructure Sectors[,] Personal Care Services[,]

22     Hair salons and barbershops[, and] Malls” (emphasis added). A true and correct copy of

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 1     the July 13 Public Health Order is attached hereto as EXHIBIT M and incorporated

 2     herein.

 3          96.   The July 13 Public Health Order “shall remain in effect until [the Public

 4     Health Officer] determine[s] it is appropriate to modify the order,” and it remains in

 5     effect.

 6          97.   The now 32 California counties on the County Monitoring List currently

 7     subject to the enhanced closures of the July 13 Public Health Order, which closures

 8     include places of worship, are: Alameda, Colusa, Contra Costa, Fresno, Glenn, Imperial,

 9     Kings, Los Angeles, Madera, Marin, Merced, Monterey, Napa, Orange, Placer,

10     Riverside, Sacramento, San Benito, San Bernardino, San Diego, San Joaquin, San Luis

11     Obispo, Santa Barbara, Santa Clara, Solano, Sonoma, Stanislaus, Sutter, Tulare, Ventura,

12     Yolo, and Yuba.

13          C.    THE      GOVERNOR’S          ORDERs       DISCRIMINATE           BETWEEN
                  PERMISSIBLE RELIGIOUS ACTIVITIES AND IMPERMISSIBLE
14                RELIGIOUS WORSHIP IN THE SAME BUILDING.
15          98.   As alleged supra, the March 19 Stay-at-Home Order created expansive

16     categories of businesses and activities wholly exempt from the Order’s stay-at-home

17     mandate, subject only to social distancing.

18          99.   These exempt activities include the provision of “food, shelter, and social

19     services, and other necessities of life for economically disadvantaged or otherwise needy

20     individuals” from the CISA Guidance (EXHIBIT D, at 20), and the identically described

21     provision of “food, shelter, and social services, and other necessities of life for

22     economically disadvantaged or otherwise needy individuals” from the Governor’s

23     additional Essential Workforce Guidance (EXHIBIT G, at 23).

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 1          100. Thus, under the Governor’s orders, Plaintiffs and their churches may provide

 2     food for the hungry, shelter for the homeless, counseling on unemployment benefits or

 3     other government assistance programs, family counseling, drug-addiction counseling,

 4     and any other social services for “necessities of life,” and may do so in their Church

 5     buildings, without numerical restrictions on volunteers or recipients, subject only

 6     to social distancing.

 7          101. But, in counties where Plaintiffs’ campus and member churches are still

 8     permitted to gather at all, if they are feeding, clothing, housing, or counseling 101

 9     individuals (or over 25% of their building capacity), and at any point transition from

10     providing material “necessities of life” through government-approved social services, to

11     providing spiritual necessities of life—according to sincerely held religious beliefs—

12     through government-prohibited religious worship services, for the same people, in the

13     same building, the Governor’s orders automatically apply, and Plaintiffs are subject to

14     criminal penalties.

15          102. For each of Plaintiffs’ campus and member churches in California counties

16     subject to total closure for worship under the July 13 Public Health Order, they are still

17     exempt for feeding, counseling, and even housing overnight an unlimited number of

18     materially needy people in the same room, but if a pastor preaches a sermon for the

19     spiritually needy among them and invites them to participate by singing a hymn, the

20     exempt service becomes a prohibited religious worship service subject to criminal

21     penalties—no matter how many or how few participate in worship.

22          103. The Governor’s orders and their classifications of exempt businesses,

23     activities, and services has established a system informing Plaintiffs and their churches

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 1     that certain activities in their buildings are perfectly permissible and not subject to any

 2     numerical limitation, but that any transition to other religious activities (i.e., religious

 3     worship services) are prohibited and subject Plaintiffs and their member churches to

 4     criminal penalties.

 5          D.     THE   GOVERNOR    PUBLICLY   AND   UNEQUIVOCALLY
                   SUPPORTED MASS PROTEST GATHERINGS THAT VIOLATED
 6                 HIS ORDERS WHILE SIMULTANEOUSLY CONDEMNING AND
                   PROHIBITING RELIGIOUS WORSHIP SERVICES.
 7

 8          104. On June 1, 2020, Governor Newsom held a news conference in which he

 9     expressed appreciation and gratitude for the thousands of protesters gathering in the

10     streets in California in violation of his own orders. KTLA 5,‘You are right to feel

11     wronged’: Newsom responds to weekend violence, YouTube (June 1, 2020),

12     https://www.youtube.com/watch?v=va7rl5seIXQ). In that press conference, the

13     Governor thanked the protesters, invoked God’s blessing on them, and explicitly

14     encouraged the protesters to continue to flout his orders: “Those that want to express

15     themselves and have, Thank You! God bless You. Keep doing it.” Id. (emphasis

16     added).

17          105. When asked about the dichotomous and disparate treatment of family,

18     religious, or social gatherings and the often-violent protests in California, Governor

19     Newsom has issued public statements stating that “people understand we have a

20     Constitution, we have a right to free speech and we are all dealing with a moment in our

21     Nation’s history that is profound and pronounced,” and issued further expressions of

22     praise for the protesters flouting his orders. See Eric Ting, Gavin Newsom asked to

23     reconcile support for protests with new warnings on gatherings, SFGate (July 2, 2020,

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     Case 2:20-cv-06414-JFW-PJW Document 1 Filed 07/17/20 Page 33 of 74 Page ID #:33




 1     1:58 PM), https://www.sfgate.com/politics/article/Gavin-Newsom-protests-coronavirus-

 2     July-Fourth-ask-15383112.php.

 3          106. On May 30, 2020, Governor Newsom released an official statement praising

 4     and encouraging the protesters in California to continue to gather in large numbers

 5     despite their flagrant violations of his own Orders. See Governor Newsom Statement on

 6     Demonstrations Across California and the Passing of Federal Officer, Office of

 7     Governor Gavin Newsom (May 30, 2020), https://www.gov.ca.gov/2020/05/30/

 8     governor-newsom-statement-on-demonstrations-across-california-and-the-passing-of-

 9     federal-officer/.

10          107. Specifically, the Governor said, “we have seen millions of people lift up

11     their voices in anger, rightfully outraged . . . . Every person who has raised their voice

12     should be heard.” He continued, “I want to thank all those . . . who exercised their right

13     to protest peacefully.”

14          108. In discussing the protesters’ gathering by the thousands in the streets of

15     California, Governor Newsom “expressed sympathy and showed support for the

16     protesters,” noting that he encouraged the protesters to engage in their constitutionally

17     protected speech to advocate for their point because “people have lost patience” and need

18     to protest. See Dave McNary, California Gov. Gavin Newsom Shows Support for George

19     Floyd Protesters, Variety (June 1, 2020, 4:03 PM), https://variety.com/2020/tv/news/

20     gov-newsom-sympathy-george-floyd-protests-1234622479/.

21          109. On June 1, 2020, Governor Newsom explicitly stated that he wants to have

22     the thousands of protesters continuing to gather in the streets of California, despite his

23     orders, stating, “‘your rage is real. Express it so that we can hear it.’” Maggie Angst,

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     Case 2:20-cv-06414-JFW-PJW Document 1 Filed 07/17/20 Page 34 of 74 Page ID #:34




 1     On fourth day of protests, Newsom tells demonstrators: “Your rage is real. Express it.”,

 2     The Mercury News (June 2, 2020, 3:53 AM), https://www.mercurynews.com/2020/06/

 3     01/trump-tells-governors-to-dominate-protesters-newsom-tells-them-you-matter-i-care/

 4     (emphasis added).

 5          110. On June 5, 2020, the Governor not only continued his support for mass

 6     protests that continually disregard his orders, but said new standards should be applied

 7     for such protests. He continued his encouragement of willful violations of his orders by

 8     stating: “‘Protesters have the right not to be harassed . . . . Protesters have the right to

 9     protest peacefully. Protesters have the right to do so without being arrested . . . .” Alexei

10     Koseff, Newsom calls for new protest policing standards in California, ban on carotid

11     holds, San Francisco Chronicle (June 5, 2020, 6:37 PM), https://www.sfchronicle.com/

12     politics/article/Gavin-Newsom-calls-for-new-protest-policing-15320403.php.

13          111. The Governor’s calls for First Amendment activity to be permitted without

14     threat of arrest did not apply to religious gatherings, such as Plaintiffs’ worship services.

15          E.     THE GOVERNOR’S UNEQUAL                        TREATMENT            OF     NON-
                   RELIGIOUS GATHERINGS.
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17          112. On Sunday June 7, 2020 an estimated 100,000 protesters were permitted to

18     gather in close proximity without any threat of criminal sanction for violating the

19     Governor’s orders.

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 1     See Samuel Braslow, Black Lives Matter Estimates that as Many as 100,000 Protesters

 2     Gathered in Hollywood on Sunday, Los Angeles Magazine (June 8, 2020),

 3     https://www.lamag.com/citythinkblog/hollywood-protest-sunday/.

 4          113. On July 12, 2020, just one day prior to the July 13 Public Health Order

 5     prohibiting Plaintiffs from holding any religious worship services in over 30 counties

 6     (including in small groups in their own homes), thousands of additional protesters

 7     gathered in Martinez, California without mention or threat of criminal sanction for

 8     blatantly violating the Governor’s orders.

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22     Bay City News, Thousands March for Black Lives in Martinez Sunday, Patch (July 12,

23     2020, 6:41 PM), https://patch.com/california/martinez/thousands-march-black-lives-

24     martinez-sunday.

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     Case 2:20-cv-06414-JFW-PJW Document 1 Filed 07/17/20 Page 38 of 74 Page ID #:38




 1          114. On July 1, 2020, after the Governor had instructed people not to gather on

 2     July 4th, thousands of people again protested in Los Angeles and were not threatened

 3     with criminal sanctions for violation of the Governor’s orders.

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16     Zachary Evans, L.A. Protests Draw Thousands Hours after Gov. Newsom Prohibited
17     Fourth of July Gatherings, National Review (July 2, 2020, 1:22 PM),
18     https://www.nationalreview.com/news/l-a-protest-draws-thousands-hours-after-gov-
19     newsom-l-a-protests-draw-thousands-hours-after-gov-newsom-prohibited-fourth-of-
20     july-gatherings/.
21          115. On June 1, 2020, nearly 15,000 people gathered to protest in Oakland,
22     California, and the Governor neither threatened nor imposed criminal sanctions on such
23     gatherings despite the flagrant violations of his orders.
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11     Darwin BondGraham, How 2 Oakland students got 15,000 people to march against

12     police   violence   on   Monday,      Berkeleyside   (June   2,   2020,   12:18   PM),

13     https://www.berkeleyside.com/2020/06/02/how-oakland-students-got-15000-people-to-

14     march-against-police-violence-on-monday.

15          116. On June 4, 2020, thousands of additional protesters assembled in the streets

16     of San Diego, and again no criminal sanctions were threatened or imposed despite the

17     violation of the Governor’s orders.

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19     Staff, Thousands March From Downtown to North Park in Latest George Floyd Protest,

20     OB Rag (June 4, 2020), https://obrag.org/2020/06/thousands-march-from-downtown-to-

21     north-park-in-latest-george-floyd-protest/.

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     Case 2:20-cv-06414-JFW-PJW Document 1 Filed 07/17/20 Page 42 of 74 Page ID #:42




 1          117. On June 6, 2020, thousands of other protesters assembled in Sacramento,

 2     right outside the Governor’s office, in blatant violation of the Governor’s orders, and no

 3     criminal citations or threats were issued against them.

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18     Sam Stanton, et al., Sacramento unites for Black Lives Matters as thousands take to
19     downtown      streets,    Sacramento      Bee     (June     6,    2020,     6:28    PM),
20     https://www.sacbee.com/news/local/article243339831.html.
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     Case 2:20-cv-06414-JFW-PJW Document 1 Filed 07/17/20 Page 43 of 74 Page ID #:43




 1          118. On June 6, 2020, thousands of protesters gathered again in the streets of San

 2     Diego in violation of the Governor’s orders, and no criminal sanctions were threatened

 3     or imposed.

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16     Cody Delaney & Zoë Meyers, Photos: San Diego demonstrators raise their voices to

17     protest police violence, inewsource (June 8, 2020), https://inewsource.org/2020/06/08/

18     photos-san-diego-protest-police-violence/.

19          F.       PLAINTIFFS’ CHURCHES HAVE COMPLIED AND WILL
                     CONTINUE TO COMPLY WITH SOCIAL DISTANCING AND
20                   PERSONAL HYGIENE PROTOCOLS.
21          119. Despite the countless instances of protesters’ gathering by the thousands,

22     engaging in shouting and loud singing and chanting, without social distancing, and

23     without threat of criminal sanction, Plaintiffs’ churches still face criminal penalties

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 1     despite their complying with social distancing and personal hygiene protocols wholly

 2     absent from the mass protests Governor Newsom encouraged, applauded, and blessed.

 3          120. Harvest Rock’s Pasadena campus seats 1,250 people, and it has been

 4     allowing for worship services only the number of people that allows for effective social

 5     distancing. Harvest Rock requires everyone to wear a mask into the building, takes the

 6     temperature of everyone entering the building, and spaces its attendees to achieve proper

 7     social distancing. Harvest Rock also has its building and restrooms professionally

 8     sanitized after hosting each worship service.

 9          121. Harvest Rock’s Orange County campus seats 350 people, and it has been

10     allowing for worship services only the number of people that allows for effective social

11     distancing. Harvest Rock requires everyone to wear a mask into the building, takes the

12     temperature of everyone entering the building, and spaces its attendees to achieve proper

13     social distancing. Harvest Rock also has its building and restrooms professionally

14     sanitized after hosting each worship service.

15          122. Harvest Rock’s Los Angeles campus seats 80 people, and it has been

16     allowing for worship services only the number of people that allows for effective social

17     distancing. Harvest Rock requires everyone to wear a mask into the building, takes the

18     temperature of everyone entering the building, and spaces its attendees to achieve proper

19     social distancing. Harvest Rock also has its building and restrooms professionally

20     sanitized after hosting each worship service.

21          123. Harvest Rock’s Corona campus seats 50 people, and it has been allowing for

22     worship services only the number of people that allows for effective social distancing.

23     Harvest Rock requires everyone to wear a mask into the building, takes the temperature

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 1     of everyone entering the building, and spaces its attendees to achieve proper social

 2     distancing. Harvest Rock also has its building and restrooms professionally sanitized

 3     after hosting each worship service.

 4          124. Harvest International’s 162 member churches in California have also taken

 5     steps to engage in social distancing, limit the number of attendees, and perform enhanced

 6     sanitation and hygiene protocols for its worship services.

 7          125. Plaintiffs and their churches are committed to protecting their members and

 8     attendees, and surrounding communities, while engaging in their constitutionally

 9     protected rights to exercise their sincerely held religious not to forsake the assembling of

10     themselves together, and Plaintiffs are committed to engaging in appropriate social

11     distancing and enhanced sanitation for all of their worship services.

12          G.       LESS RESTRICTIVE ALTERNATIVES ARE AVAILABLE TO THE
                     GOVERNOR.
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14          126. Despite Governor Newsom’s insistence that in-person religious gatherings

15     of any number of people indoors cannot continue in most of California, or at the requisite

16     capacity limitations in the counties where worship is still allowed provided no singing or

17     chanting takes place, the Governor has failed to consider other, substantially less

18     restrictive alternatives to the absolute prohibition and severe restrictions on religious

19     gatherings.

20          127. Like California, the State of Indiana has issued stay-at-home executive

21     orders and required the closure of all so-called “non-essential” businesses without

22     unnecessarily discriminating against religious gatherings. Governor Eric. J. Holcomb’s

23     Executive Order 20-08 declared that “[r]eligious facilities, entities and groups, and

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 1     religious gatherings” are essential and may continue to operate provided they follow

 2     appropriate social distancing and personal hygiene practices. A true and correct copy of

 3     Indiana’s Executive Order 20-08 is attached hereto as EXHIBIT N and incorporated

 4     herein.

 5          128. The State of Alabama, in its final Order of the State Health Officer

 6     Suspending Certain Public Gatherings Due to Risk of Infection by COVID-19, issued

 7     April 3, 2020, exempts individuals attending religious worship services in person subject

 8     to certain requirements and permits “drive-in” worship services without limitation. A

 9     true and correct copy of the Alabama Order is attached hereto as EXHIBIT O and

10     incorporated herein.

11          129. The State of Arkansas has likewise exempted “places of worship” from its

12     Executive Order 20-13 imposing restrictions to prevent the spread of COVID-19,

13     provided that they engage in adequate social distancing and personal hygiene practices.

14     A true and correct copy of the Arkansas Executive Order is attached hereto as EXHIBIT

15     P and incorporated herein.

16          130. The State of Connecticut has similarly shown that other, less restrictive

17     alternatives are available. In Executive Order No. 7N, Governor Ned Lamont permitted

18     religious services to continue to meet, but limited their in-person gatherings to 50 people,

19     as opposed to the six-person limit applicable to other gatherings. A true and correct copy

20     of the Connecticut Executive Order No. 7N is attached hereto as EXHIBIT Q and

21     incorporated herein.

22          131. The State of Ohio has likewise issued certain COVID-19 orders, including

23     the Ohio Department of Health’s Stay Safe Ohio Order. A true and correct copy of the

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 1     Ohio order is attached hereto as EXHIBIT R and incorporated herein. Ohio’s order

 2     likewise states that the stay at home mandate “does not apply to religious facilities,

 3     entities and groups and religious gatherings.”

 4          132. The State of Illinois, though initially one of the strictest states on religious

 5     gatherings, completely eliminated all restrictions on religious gatherings due to various

 6     lawsuits and challenges to its draconian measures. A true and correct copy of the Illinois

 7     Order removing all restrictions on religious worship is attached hereto as EXHIBIT S

 8     and incorporated herein.

 9          133. The State of Florida has issued stay-at-home executive orders and required

10     the closure of all so-called “non-essential” businesses without unnecessarily

11     discriminating against religious gatherings. On April 1, 2020, Florida Governor Ron

12     DeSantis issued Executive Order 20-91, which included “religious services conducted in

13     churches, synagogues, and houses of worship” as essential activities permitted to

14     continue subject to social distancing and personal hygiene guidelines. A true and correct

15     copy of Florida Executive Order 20-91 is attached hereto as EXHIBIT T and

16     incorporated herein.

17          134. The State of Arizona, in Executive Order 2020-18, classified “[e]ngaging in

18     constitutionally protected activities such as speech and religion” as essential activities,

19     subject to a flexible requirement that such engagement be “conducted in a manner that

20     provides appropriate physical distancing to the extent feasible.” The Arizona Attorney

21     General, in Opinion I20-008, interpreted such essential activities clearly to include

22     assembling for religious worship. True and correct copies of Arizona Executive Order

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 1     2020-18 and Arizona Attorney General Opinion I20 008 are attached hereto as

 2     EXHIBIT U and EXHIBIT V, respectively, and incorporated herein.

 3          135. The State of Texas has likewise issued certain COVID-19 orders, but has

 4     provided explicit protections to religious gatherings and issued directives outlining the

 5     protection for religious freedom, even in these times of uncertainty. A true and correct

 6     copy of the Texas Guidance for Houses of Worship is attached hereto as EXHIBIT W

 7     and incorporated herein. In that Guidance, Texas notes that religious assemblies and

 8     houses of worship are “essential services” and that in-person gatherings are permissible

 9     if social distancing and personal hygiene practices are followed.

10          136. Numerous other states have similarly permitted religious gatherings to be

11     treated equally with non-religious gatherings, and have exempted them altogether from

12     the restrictions being placed on their constitutionally protected exercise of religion.

13          137. As these other states have demonstrated, Governor Newsom can continue to

14     pursue the State’s objective of preventing the spread of COVID-19 without unnecessarily

15     treating religious gatherings in a discriminatory manner, and the State has numerous

16     other, less restrictive alternatives available to it to do so.

17          138. Governor Newsom has neither tried without success nor considered and ruled

18     out for good reason these less restrictive alternatives.

19          139. Governor Newsom has constitutionally permissible alternatives available,

20     but has failed to attempt to achieve the State’s purported goals without unnecessarily

21     interfering with constitutionally protected activities.

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 1          H.     IRREPRABLE  INJURY   TO   PLAINTIFFS  FROM   THE
                   GOVERNOR’S ORDERS AND SELECTIVE ENFORCEMENT.
 2

 3          140. Despite being willing and capable of following all social distancing and

 4     personal hygiene protocols recommended by the CDC and specified in the Governor’s

 5     orders, Plaintiffs have been explicitly targeted, singled out, and threatened with criminal

 6     sanction for participating in in-person religious gatherings when exempted “Essential”

 7     businesses and non-religious activities, and ostensibly prohibited mass protests with no

 8     social distancing whatsoever, may accommodate gatherings, crowds, and masses of

 9     people without numeric limitation, and without scrutiny or punishment by the

10     government.

11          141. As a result of the Governor’s orders, and blatantly selective enforcement of

12     his orders, Plaintiffs have suffered and are suffering irreparable injury from the weight

13     and threat of criminal enforcement of the Governor’s orders against their churches,

14     pastors, and worship attendees for merely engaging in responsibly distanced and

15     sanitized religious worship services in the counties where indoor religious worship

16     services are completely prohibited.

17          142. As a result of the Governor’s orders, and blatantly selective enforcement of

18     his orders, Plaintiffs have suffered and are suffering irreparable injury from the weight

19     and threat of criminal enforcement of the Governor’s orders against their churches,

20     pastors, and worship attendees for merely engaging in responsibly distanced and

21     sanitized religious worship services involving more than 100 people or 25% of each

22     church’s building capacity in the counties where indoor religious worship services are

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 1     permitted but numerically restricted, regardless of whether their church buildings can

 2     accommodate such higher numbers while maintaining distancing.

 3          143. As a result of the Governor’s orders, and blatantly selective enforcement of

 4     his orders, Plaintiffs have suffered and are suffering irreparable injury from the weight

 5     and threat of criminal enforcement of the Governor’s orders against their churches,

 6     pastors, and worship attendees for merely engaging in responsibly distanced and

 7     sanitized religious worship services involving singing or chanting in the counties where

 8     indoor religious worship services are permitted but singing and chanting are prohibited.

 9          144. As a result of the Governor’s order, Plaintiffs have suffered and are suffering

10     irreparable injury from being prohibited from engaging in their constitutionally protected

11     rights of free exercise, assembly, and speech.

12          145. As a result of the Governor’s orders, Plaintiffs have suffered and are

13     suffering irreparable injury from the infringement of their constitutionally protected right

14     to be free from government hostility toward religion.

15          146. As a result of the Governor’s orders, Plaintiffs have suffered and are

16     suffering irreparable injury from the infringement of their constitutionally protected

17     rights to be free from excessive government entanglement with how Plaintiffs are

18     permitted to engage in their religious exercise, what religious services Plaintiffs may

19     offer to their members and the community, and what religious practices Plaintiffs may

20     engage in during the worship services the Governor has permitted in certain counties in

21     California.

22          147. As a result of the Governor’s orders, Plaintiffs have suffered and are

23     suffering irreparable injury by the continuing threat of criminal sanctions against their

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 1     churches, pastors, and congregants for merely exercising their constitutionally protected

 2     freedoms.

 3          148. Due to the explicit threats of the Governor’s orders, Plaintiffs have been

 4     forced to self-censor, cease their religious worship services, cease certain vital practices

 5     in their religious services, and violate their sincerely held religious beliefs.

 6          149. As a result of the Governor’s orders, Plaintiffs have been forced to conduct

 7     their religious worship services (in counties where it is even permissible to have a

 8     worship service) in a manner prescribed by the government, which has told them how

 9     they may worship and prohibited them from singing and chanting which are a critical

10     parts of Plaintiffs’ religious exercise.

11          150. As a result of the Governor’s orders, Plaintiffs have been prohibited from

12     engaging in the critical ministries of home group Bible studies and programs because the

13     Governor’s orders prohibit them from leaving their homes for such gatherings.

14          I.     PLAINTIFFS’ ATTEMPTS TO SECURE RELIEF WITHOUT
                   JUDICIAL INTERVENTION WERE IGNORED AND FURTHER
15                 ATTEMPTS TO OBTAIN SUCH RELIEF WOULD BE FUTILE.
16          151. On July 16, 2020, prior to the commencement of the instant action, Plaintiffs’

17     counsel sent by e-mail a demand letter to Governor Newsom in which Plaintiffs’ counsel

18     demanded, by 12:00 P.M. on July 17, written confirmation that the Governor has

19     withdrawn the prohibitions and restrictions on religious gatherings embodied in the

20     Governor’s orders, will allow individuals to attend religious worship services at

21     Plaintiffs’ churches on equal terms as Californians are allowed to work at and patronize

22     “Essential” businesses and non-religious operations provided certain social distancing

23     and personal hygiene practices are followed, will cease demanding Plaintiffs’ churches

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 1     conform their worship services to only those activities the Governor has approved, and

 2     will cease enforcement of any church gathering ban against members or attendees of

 3     Plaintiffs’ worship services. A true and correct copy of the demand letter is attached

 4     hereto as EXHIBIT X.

 5          152. The Governor responded to Plaintiffs’ demand letter, through the Office of

 6     the California Attorney General, by letter dated July 17, 2020, in which the Governor

 7     refused to withdraw any of his current prohibitions or restrictions on indoor worship. A

 8     true and correct copy of the Governor’s response is attached hereto as EXHIBIT Y.

 9          153. Governor Newsom’s refusal to withdraw his discriminatory religious

10     worship prohibitions and restrictions shows that Plaintiffs’ irreparable injury to their

11     constitutionally protected freedoms is ongoing.

12          154. Governor Newsom’s flat refusal to withdraw his discriminatory religious

13     worship prohibitions and restrictions also shows that notice and an opportunity to

14     respond to this lawsuit would be futile prior to this Sunday’s worship services at

15     Plaintiffs’ churches, which must proceed, if at all, under the weight and threat of criminal

16     enforcement of the Governor’s orders against Plaintiffs’ churches, pastors, and attendees

17     absent a TRO from this Court.

18                            CONSTITUTIONAL CLAIMS
                    COUNT 1 – THE GOVERNOR’S ORDERS VIOLATE
19               PLAINTIFFS’ RIGHTS TO FREE EXERCISE OF RELIGION
                          UNDER THE FIRST AMENDMENT
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21          155. Plaintiffs hereby reallege and adopt each and every allegation in paragraphs

22     1–154 above.

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 1          156. The Free Exercise Clause of the First Amendment to the United States

 2     Constitution, as applied to the states by the Fourteenth Amendment, prohibits the State

 3     from abridging Plaintiffs’ rights to free exercise of religion.

 4          157. Plaintiffs have and exercise sincere religious beliefs that Scripture is the

 5     infallible, inerrant word of the Lord Jesus Christ, and that they are to follow its teachings.

 6          158. Plaintiffs have and exercise sincere religious beliefs, rooted in Scripture’s

 7     commands (e.g., Hebrews 10:25), that followers of Jesus Christ are not to forsake the

 8     assembling of themselves together, and that they are to do so even more in times of peril

 9     and crisis. Indeed, the entire purpose of the Church (in Greek “ekklesia,” meaning

10     “assembly”) is to assemble together Christians to worship Almighty God.

11          159. Plaintiffs and their churches all have and exercise sincere religious beliefs

12     that they are to “sing to the LORD” and “[d]eclare his glory among the nations.” Psalm

13     96:1–2 (ESV).

14          160. Plaintiffs and their churches all have and exercise sincere religious beliefs

15     that they are to “make a joyful noise” to the Lord, Psalm 95:1 (ESV), through singing

16     and chanting His praises.

17          161. Plaintiffs and their churches all have and exercise sincere religious beliefs

18     that they are to “sing to the LORD as long as I live.” Psalm 104:33 (ESV).

19          162. Plaintiffs and their churches all have and exercise sincere religious beliefs

20     that not only are they to sing to the Lord, also to “declare [His] name unto my brethren,”

21     and that “in the midst of the church will [they] sing praise” to the Lord. Hebrews 2:12

22     (KJV) (emphasis added).

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 1           163. Plaintiffs and their churches all have and exercise sincere religious beliefs

 2     that, in the current times of trouble and distress, they are to sing to the Lord even more

 3     and to sing aloud to Him. See Psalm 59:16 (ESV) (“I will sing aloud of your steadfast

 4     love in the morning. For you have been to me a fortress and a refuge in the day of my

 5     distress.”).

 6           164. Plaintiffs and their churches all have and exercise sincere religious beliefs

 7     that they are to chant and shout to the Lord as well. See Psalm 33:3 (ESV) (“Sing to him

 8     a new song; play skillfully on the strings, with loud shouts.” (emphasis added)).

 9           165. The Governor’s orders, on their face and as applied, target Plaintiffs’

10     sincerely held religious beliefs by prohibiting or numerically restricting religious

11     gatherings, by prohibiting singing and chanting in counties where religious worship

12     services are permitted, and by imposing government-mandated restrictions on the types

13     of religious activity Plaintiffs may exercise in their own buildings.

14           166. The Governor’s orders, on their face and as applied, impermissibly burden

15     Plaintiffs’ sincerely held religious beliefs, compel Plaintiffs to either change those beliefs

16     or to act in contradiction to them, and force Plaintiffs to choose between the teachings

17     and requirements of their sincerely held religious beliefs in the commands of Scripture

18     and the State’s imposed value system.

19           167. The Governor’s orders, on their face and as applied, place Plaintiffs in an

20     irresolvable conflict between compliance with the Governor’s orders and their sincerely

21     held religious beliefs.

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 1          168. The Governor’s orders, on their face and as applied, put substantial pressure

 2     on Plaintiffs to violate their sincerely held religious beliefs by ignoring the fundamental

 3     teachings and tenets of Scripture concerning the assembling of believers.

 4          169. The Governor’s orders, on their face and as applied, are neither neutral nor

 5     generally applicable, but rather specifically and discriminatorily target the religious

 6     beliefs, speech, assembly, and viewpoint of Plaintiffs.

 7          170. By treating mass gatherings of thousands of protesters differently from

 8     religious gatherings of substantially smaller numbers, the Governor has demonstrated his

 9     orders are not neutral.

10          171. By treating mass gatherings of thousands of protesters differently from

11     religious gatherings of substantially smaller numbers, the Governor has demonstrated his

12     orders are not generally applicable.

13          172. By treating mass gatherings of thousands of protesters differently from

14     religious gatherings of substantially smaller numbers, the Governor has demonstrated his

15     orders create a system of individualized exemptions based upon the value the Governor

16     places on religious and other activities being engaged in by residents of California.

17          173. By treating mass gatherings of thousands of protesters differently from

18     religious gatherings of substantially smaller numbers, the Governor has demonstrated his

19     orders create a religious gerrymander of based upon the value judgments of the Governor.

20          174. By treating mass gatherings of thousands of protesters differently from

21     religious gatherings of substantially smaller numbers, the Governor has demonstrated his

22     orders are not being generally applied within California.

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 1          175. By permitting mass gatherings of thousands of protesters on more favorable

 2     terms than small religious gatherings comprising Plaintiffs’ life groups and in-home

 3     Bible studies, the Governor has demonstrated that his orders impose substantially more

 4     burdensome restrictions on religious gatherings than on his approved non-religious

 5     gatherings.

 6          176. The Governor’s orders, on their face and as applied, constitute a substantial

 7     burden on Plaintiffs’ sincerely held religious beliefs.

 8          177. By prohibiting Plaintiffs’ Churches from gathering at all (in some counties),

 9     from gathering without adherence to certain numerical limitations (in other counties),

10     and from engaging in certain religious activities that are not approved by the Governor,

11     the Governor has imposed an unconscionable and unconstitutional burden on Plaintiffs’

12     religious exercise according to their sincerely held beliefs.

13          178. The State lacks a compelling, legitimate, or rational interest in the

14     Governor’s orders’ application of different standards for churches and religious

15     gatherings than those applicable to exempted businesses, non-religious entities, and

16     protesters.

17          179. The State lacks even a rational basis to impose disparate treatment on

18     Plaintiffs’ permissible services (such as feeding, clothing, housing, and providing other

19     necessities of life without numerical limitation) and its impermissible religious worship

20     services (such as singing, chanting, and gathering together indoors for worship services)

21     that all occur in the same building.

22          180. The Governor cannot claim a compelling, legitimate, or even rational interest

23     in his orders when he has permitted and encouraged mass gatherings of thousands of

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 1     protesters to engage in the very activity he claims poses a massive danger to California

 2     if it takes place in Plaintiffs’ churches, as that leaves an appreciable amount of purported

 3     damaged unrestricted.

 4          181. Even if the Governor’s orders were supported by a compelling, legitimate,

 5     or even rational interest, they are not the least restrictive means or otherwise narrowly

 6     tailored to accomplish the government’s purported interest.

 7          182. The Governor’s orders, on their face and as applied, fail to accommodate

 8     Plaintiffs’ religious exercise according to their sincerely held beliefs.

 9          183. The Governor’s orders, on their face and as applied, specifically target

10     Plaintiffs’ religious exercise according to their sincerely held beliefs and set up a system

11     of individualized exemptions that permits certain other similarly situated businesses or

12     non-religious entities to continue operations under certain guidelines while prohibiting

13     religious gatherings, such as Plaintiffs’ church and worship services, from operating with

14     similar guidelines.

15          184. The Governor’s orders also set up a system of individualized exemptions by

16     specifically permitting protesters to gather in massive numbers (sometimes thousands)

17     without threat of criminal sanction or penalty while imposing draconian prohibitions on

18     religious gatherings in Plaintiffs’ churches.

19          185. The Governor’s orders, on their face and as applied, constitute an express

20     and overt religious gerrymander.

21          186. The Governor’s orders, on their face and as applied, have caused, are

22     causing, and will continue to cause Plaintiffs immediate and irreparable harm, and actual

23     and undue hardship.

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 1           187. Plaintiffs have no adequate remedy at law to correct the continuing

 2     deprivation of their most cherished liberties.

 3           WHEREFORE, Plaintiffs respectfully pray for relief against the State as hereinafter

 4     set forth in their prayer for relief.

 5                       COUNT II – THE GOVERNOR’S ORDERS VIOLATE
                         PLAINTIFFS’ RIGHTS TO PEACEABLE ASSEMBLY
 6                              UNDER THE FIRST AMENDMENT
 7           188. Plaintiffs hereby reallege and adopt each and every allegation in paragraphs

 8     1–154 above.

 9           189. The First Amendment to the United States Constitution, as applied to the

10     states by the Fourteenth Amendment, prohibits the State from abridging the right of the

11     people peaceably to assemble.

12           190. The Governor’s orders, on their face and as applied, are an unconstitutional

13     prior restraint on Plaintiffs’ right to assemble.

14           191. The Governor’s orders, on their face and as applied, unconstitutionally

15     discriminate against Plaintiffs’ assembly on the basis of viewpoint.

16           192. The Governor’s orders, on their face and as applied, unconstitutionally

17     discriminate against Plaintiffs’ assembly on the basis of content.

18           193. By specifically permitting and encouraging protesters expressing particular

19     content of a particular viewpoint while prohibiting the religious content of Plaintiffs’

20     worship services, the Governor has discriminated against Plaintiffs’ assembly on the

21     basis of content and viewpoint.

22           194. The State lacks a compelling, legitimate, or rational interest in the

23     Governor’s orders’ application of differential standards for churches and religious

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 1     gatherings than those applicable to exempted businesses, non-religious entities, and

 2     protesters.

 3          195. The Governor’s orders, on their face and as applied, are not the least

 4     restrictive means to accomplish any permissible government purpose sought to be served

 5     by the orders.

 6          196. The Governor’s orders, on their face and as applied, are not narrowly tailored

 7     to serve the government’s purported interest in the orders.

 8          197. The Governor’s orders, on their face and as applied, do not leave open ample

 9     alternative channels of communication for Plaintiffs.

10          198. The Governor’s orders, on their face and as applied, are irrational and

11     unreasonable and impose unjustifiable and unreasonable restrictions on Plaintiffs’

12     constitutionally protected right to assemble.

13          199. The Governor’s orders, on their face and as applied, impermissibly vest

14     unbridled discretion in the hands of government officials, including Governor Newsom

15     and his designees, to apply or not apply the Governor’s orders in a manner to restrict free

16     assembly.

17          200. The Governor’s favorably disparate treatment of protesters who engaged in

18     assemblies of thousands without criminal sanction and at the express encouragement of

19     the Governor demonstrates that he has unbridled discretion to apply or not apply his

20     orders as he sees fit.

21          201. The Governor’s orders, on their face and as applied, are underinclusive by

22     limiting the gathering prohibitions and restrictions to only religious activities and other

23     activities deemed not “Essential.”

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 1          202. The Governor’s orders, on their face and as applied, are unconstitutionally

 2     vague and overbroad as they chill and abridge the free assembly rights of Plaintiffs.

 3          203. On their face and as applied, the Governor’s orders violate Plaintiffs’ rights

 4     to free assembly and have caused, are causing, and will continue to cause Plaintiffs to

 5     suffer immediate and irreparable injury and undue and actual hardship.

 6          204. Plaintiffs have no adequate remedy at law to correct the continuing

 7     deprivation of their most cherished liberties.

 8          WHEREFORE, Plaintiffs respectfully pray for the relief against the State as

 9     hereinafter set forth in their prayer for relief.

10                   COUNT III – THE GOVERNOR’S ORDERS VIOLATE
                      PLAINTIFFS’ RIGHTS TO FREEDOM OF SPEECH
11                          UNDER THE FIRST AMENDMENT
12          205. Plaintiffs hereby reallege and adopt each and every allegation in paragraphs

13     1–154 above.

14          206. The Free Speech Clause of the First Amendment to the United States

15     Constitution, as applied to the states by the Fourteenth Amendment, prohibits the State

16     from abridging Plaintiffs’ freedom of speech.

17          207. The Governor’s orders, on their face and as applied, are an unconstitutional

18     prior restraint on Plaintiffs’ right to free speech.

19          208. The Governor’s orders, on their face and as applied, unconstitutionally

20     discriminate against Plaintiffs’ speech on the basis of viewpoint.

21          209. The Governor’s orders, on their face and as applied, unconstitutionally

22     discriminate against Plaintiffs’ speech on the basis of content.

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 1          210. By specifically permitting and encouraging protesters expressing particular

 2     content of a particular viewpoint while prohibiting the religious content of Plaintiffs’

 3     worship services, the Governor has unquestionably discriminated against Plaintiffs’

 4     speech on the basis of content and viewpoint.

 5          211. The State lacks a compelling, legitimate, or rational interest in the

 6     Governor’s orders’ application of differential standards for churches and religious

 7     gatherings than those applicable to exempted businesses, non-religious entities, and

 8     protesters.

 9          212. The Governor’s orders, on their face and as applied, are not the least

10     restrictive means to accomplish any permissible government purpose sought to be served

11     by the orders.

12          213. The Governor’s orders, on their face and as applied, are not narrowly tailored

13     to serve the government’s purported interest.

14          214. The Governor’s orders, on their face and as applied, do not leave open ample

15     alternative channels of communication for Plaintiffs.

16          215. The Governor’s orders, on their face and as applied, are irrational and

17     unreasonable and impose unjustifiable and unreasonable restrictions on Plaintiffs’

18     constitutionally protected right to free speech.

19          216. The Governor’s orders, on their face and as applied, impermissibly vest

20     unbridled discretion in the hands of government officials, including Governor Newsom

21     and his designees, to apply or not apply the Governor’s orders in a manner to restrict free

22     speech.

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 1          217. The Governor’s favorably disparate treatment of protesters who engaged in

 2     assemblies of thousands without criminal sanction and at the express encouragement of

 3     the Governor demonstrates that he has unbridled discretion to apply or not apply his

 4     orders as he sees fit.

 5          218. The Governor’s orders, on their face and as applied, are underinclusive by

 6     limiting the gathering prohibitions and restrictions to only religious activities and other

 7     activities deemed not “Essential.”

 8          219. The Governor’s orders, on their face and as applied, are unconstitutionally

 9     vague and overbroad as they chill and abridge the free speech rights of Plaintiffs.

10          220. On their face and as applied, the Governor’s orders violate Plaintiffs’ right

11     to free speech and have caused, are causing, and will continue to cause Plaintiffs to suffer

12     immediate and irreparable injury and undue and actual hardship.

13          221. Plaintiffs have no adequate remedy at law to correct the continuing

14     deprivation of their most cherished liberties.

15          WHEREFORE, Plaintiffs respectfully pray for the relief against the State as

16     hereinafter set forth in their prayer for relief.

17                COUNT IV – THE GOVERNOR’S ORDERS VIOLATE
              PLAINTIFFS’ RIGHTS UNDER THE ESTABLISHMENT CLAUSE
18                          OF THE FIRST AMENDMENT
19          222. Plaintiffs hereby reallege and adopt each and every allegation in paragraphs

20     1–154 above.

21          223. The Establishment Clause of the First Amendment to the United States

22     Constitution, as applied to the states by the Fourteenth Amendment, prohibits the

23     government from establishing a religion.

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 1          224. The Establishment Clause also prohibits excessive government entanglement

 2     with religion.

 3          225. The Establishment Clause also prohibits the government from showing

 4     hostility towards religion and prohibits showing favoritism towards one religious sect

 5     over another or between non-religion and religion.

 6          226. The government-mandated prohibitions and restrictions on religious

 7     gatherings in the Governor’s orders violates the Establishment Clause because the State

 8     of California thereby dictates the manner in which Christians and churches must worship

 9     or whether they may worship at all.

10          227. The Establishment Clause does not permit the State of California to dictate

11     under penalty of criminal sanctions the manner, style, form, practices, or sacraments of

12     religious worship and thereby impose its own version of religious worship on every

13     church and citizen of the State.

14          228. The State, through Governor Newsom’s Orders, is purporting to prescribe

15     what shall be orthodox in matters of religious worship, and is thus running roughshod

16     over the Establishment Clause. See W. Va. State Bd. of Educ. v. Barnette, 319 U.S. 624,

17     642 (1943) (“If there is any fixed star in our constitutional constellation, it is that no

18     official, high or petty, can prescribe what shall be orthodox in politics, nationalism,

19     religion, or other matters of opinion or force citizens to confess by word or act their faith

20     therein.” (emphasis added)).

21          229. The Governor’s prohibition on singing and chanting during a religious

22     worship service is an impermissible prescription for what shall be orthodox in matters of

23     worship and religious belief.

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 1          230. The Governor’s prohibition on in-home Bible studies, in-home life groups,

 2     and in-home worship services is an impermissible prescription for what shall be orthodox

 3     in matters of worship and religious belief. The Governor may not dictate how individuals

 4     gather together to worship the Lord, express their faith, minister to one another, and

 5     exercise their religious faith.

 6          231. The Governor’s orders, on their face and as applied, display and permit

 7     government officials to display impermissible hostility towards religious gatherings.

 8          232. The Governor’s orders, on their face and as applied, have permitted singing

 9     and chanting by mass gatherings of protesters while imposing a total ban on singing or

10     chanting during religious worship services.

11          233. The Governor’s orders, on their face and as applied, impermissibly show

12     favoritism towards certain non-religious gatherings, such as protests, over religious

13     gatherings.

14          234. The Governor’s express statements of support and encouragement of

15     protesters while imposing draconian prohibitions and restrictions on Plaintiffs’ worship

16     services demonstrates the unquestionable government hostility toward Plaintiffs’

17     religious gatherings and worship services.

18          235. The Governor’s orders, on their face and as applied, violate the

19     Establishment Clause because they excessively entangle the government with religion.

20          236. By setting up a system of permissible religious activities in Plaintiffs’ church

21     buildings (providing food, shelter, clothing, or other necessities of life without numerical

22     restriction) and impermissible religious activities in a worship service (gathering in any

23     number or above a certain number for a service, singing, and chanting), the Governor

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 1     has excessively entangled California with religious beliefs, teachings, and doctrine on

 2     proper expressions of faith in worship.

 3           237. By setting up a system whereby thousands of individuals may gather to sing

 4     and chant in protest without threat of criminal sanction while smaller groups of religious

 5     adherents cannot gather to sing and chant as religious worship, whether in church or in

 6     in-home worship services, Bible studies, or life groups, the Governor has excessively

 7     entangled California with religious beliefs, teachings, and doctrine on proper expressions

 8     of faith.

 9           238. The Governor’s orders, on their face and as applied, purport to inform

10     religious adherents and believers how they may choose to worship, assemble together,

11     or exercise their religious freedoms.

12           239. The Governor’s orders, on their face and as applied, purport to establish an

13     acceptable method of religious practice and worship, place a numerical limitation on the

14     scope of how such religious practice and worship may occur, and provide a government

15     imprimatur for only certain forms of “permissible” worship.

16           240. The Governor’s orders, on their face and as applied, demonstrate overt

17     hostility to religious practice and worship that does not conform to government

18     sanctioned religious exercises.

19           241. By explicitly and publicly stating his belief that it was impossible for

20     protesters to stay home instead of marching together by the thousands while continuing

21     to call religious gatherings non-essential and impermissible, the Governor has

22     demonstrated hostility towards those religious adherents that believe it is impossible and

23     sinful for them to forsake the assembling of themselves together for worship.

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 1          242. The Governor’s orders, on their face and as applied, have caused, are

 2     causing, and will continue to cause Plaintiffs immediate and irreparable harm, and actual

 3     and undue hardship.

 4          243. Plaintiffs have no adequate remedy at law to correct the continuing

 5     deprivation of their most cherished constitutional liberties.

 6          WHEREFORE, Plaintiffs respectfully pray for the relief against the State as

 7     hereinafter set forth in their prayer for relief.

 8                    COUNT V – THE GOVERNOR’S ORDERS VIOLATE
                       PLAINTIFFS’ RIGHTS TO EQUAL PROTECTION
 9                       UNDER THE FOURTEENTH AMENDMENT
10          244. Plaintiffs hereby reallege and adopt each and every allegation in paragraphs

11     1–154 above.

12          245. The Fourteenth Amendment to the United States Constitution guarantees

13     Plaintiffs the right to equal protection under the law.

14          246. The Governor’s orders, on their face and as applied, are an unconstitutional

15     abridgement of Plaintiffs’ right to equal protection under the law, are not neutral, and

16     specifically target Plaintiffs’ and other religious gatherings for unequal treatment.

17          247. The Governor’s orders, on their face and as applied, are an unconstitutional

18     abridgment of Plaintiffs’ right to equal protection because they permit the State to treat

19     Plaintiffs differently from other similarly situated businesses, non-religious entities, and

20     protesters on the basis of the religious content and viewpoint of Plaintiffs’ gatherings.

21          248. The Governor’s orders create a system of exempt categories that permit

22     “Essential” businesses and activities, and protesters, to gather without restriction or threat

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 1     of criminal penalty while imposing disparate treatment on Plaintiffs’ religious worship

 2     services.

 3          249. By explicitly and publicly declaring support for mass gatherings of protesters

 4     in flagrant violation of his own orders and asking that hey continue, while at the same

 5     time imposing draconian prohibitions on Plaintiffs’ religious worship services, the

 6     Governor has created a class of prohibited gatherings without any rational, legitimate,

 7     significant, or compelling interest.

 8          250. The Governor’s system of categories represents disparate treatment based

 9     upon classifications in violation equal protection.

10          251. The Governor’s orders, on their face and as applied, impermissibly

11     discriminate between certain non-religious gatherings and religious gatherings.

12          252. The State lacks a compelling, significant, legitimate, or rational interest in

13     the Governor’s orders’ application of different standards for churches and religious

14     gatherings from those applicable to exempted businesses, non-religious activities, and

15     protesters.

16          253. The Governor’s orders, on their face and as applied, are not the least

17     restrictive means to accomplish any permissible government purpose sought to be

18     served.

19          254. The Governor’s orders, on their face and as applied, do not have a rational

20     basis.

21          255. The Governor’s orders, on their face and as applied, are irrational and

22     unjustifiable and impose irrational and unjustifiable restrictions on Plaintiffs’ religious

23     gatherings.

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 1           256. The Governor’s orders, on their face and as applied, have caused, are

 2     causing, and will continue to cause Plaintiffs immediate and irreparable harm, and actual

 3     and undue hardship.

 4           257. Plaintiffs have no adequate remedy at law to correct the continuing

 5     deprivation of their most cherished liberties.

 6           WHEREFORE, Plaintiffs respectfully pray for relief against the State as hereinafter

 7     set forth in their prayer for relief.

 8                  COUNT VI – THE GOVERNOR’S ORDERS VIOLATE
                  THE GUARANTEE CLAUSE OF ARTICLE IV, SECTION 4
 9                     OF THE UNITED STATES CONSTITUTION
10           258. Plaintiffs hereby reallege and adopt each and every allegation in paragraphs

11     1–154 above.

12           259. Article IV, § 4 of the United States Constitution requires the United States to

13     guarantee to every citizen in the nation a republican form of government.

14           260. The Guarantee Clause’s distinguishing feature is that the republican form of

15     government it guarantees is the right of the people to choose their own governmental

16     administration and pass their own laws.

17           261. As interpreted by the federal judiciary and prominent scholars, the Guarantee

18     Clause mandates that the federal government guarantee a form of government for all

19     citizens in which supreme power resides in a body of citizens entitled to vote and

20     exercised by elected officers responsible to such citizens.

21           262. The Governor’s orders’ express, unilateral, and unequivocal exercises of

22     purported executive authority over the constitutional rights of Plaintiffs deprive Plaintiffs

23     of the right to select their own government administration, pass their own laws, and

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 1     maintain a government administration directly responsible to the people, including by

 2     laws that are enacted by the legislature in constitutional recognition of the separation of

 3     powers.

 4          263. The impermissible exercise of exclusive and unaccountable executive

 5     authority—in perpetuity—violates the Guarantee Clause of the United States

 6     Constitution.

 7          264. The Governor’s orders, on their face and as applied, have caused, are

 8     causing, and will continue to cause Plaintiffs immediate and irreparable harm, and actual

 9     and undue hardship.

10          265. Plaintiffs have no adequate remedy at law to correct the continuing

11     deprivation of their most cherished liberties.

12          WHEREFORE, Plaintiffs respectfully pray for the relief against the State as

13     hereinafter set forth in their prayer for relief.

14                                      PRAYER FOR RELIEF
15          WHEREFORE, Plaintiffs pray for relief as follows:

16          A.      That the Court issue a temporary restraining order, restraining and enjoining

17     Governor Newsom, all State officers, agents, employees, attorneys, and all other persons

18     in active concert or participation with them, from enforcing, attempting to enforce,

19     threatening to enforce, or otherwise requiring compliance with the Governor’s orders or

20     any other future order to the extent any such order prohibits Plaintiffs’ religious worship

21     services and imposes prohibitions on singing, chanting, and other forms of worship in

22     which such religious services may be conducted, or imposing any other restrictions on

23     in-person worship services at Plaintiffs’ churches if Plaintiffs meet the social distancing,

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 1     enhanced sanitization, and personal hygiene guidelines otherwise acceptable at so-called

 2     “Essential” businesses and operations. To be clear, Plaintiffs do not seek a complete

 3     exemption from social distancing or personal hygiene protocols which the Governor has

 4     effectively granted to mass gatherings of protesters, even though the Constitution

 5     demands equal treatment; rather, Plaintiffs merely seek a TRO preventing Plaintiffs,

 6     their pastors, and their congregants from being subject to criminal sanctions for

 7     participating in indoor worship services this Sunday, or singing or chanting therein,

 8     during which Plaintiffs will implement social distancing and hygiene protections on

 9     an equal basis with permitted non-religious gatherings.

10          B.    That the Court issue a preliminary injunction pending trial, and a permanent

11     injunction upon judgment, restraining and enjoining Governor Newsom, all State

12     officers, agents, employees, attorneys, and all other persons in active concert or

13     participation with them, from enforcing the Governor’s orders so that:

14                i.     The State will not apply the Governor’s orders in any manner as to

15          infringe Plaintiffs constitutional rights by discriminating against their right to

16          assembly, speech, free exercise of religion, equal protection, and all other

17          constitutional rights outlined herein;

18                ii.    The State will apply the Governor’s orders in a manner that treats

19          Plaintiffs’ religious gatherings on equal terms as gatherings for or in so-called

20          “Essential” businesses or non-religious activities that are not subject to the

21          prohibitions in the Governor’s orders;

22                iii.   The State will permit religious gatherings so long as they comply with

23          the same social distancing and personal hygiene recommendations pursuant to

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 1          which the State allows so-called “ Essential” businesses and non-religious activities

 2          to accommodate gatherings of persons without numerical limit under the

 3          Governor’s orders;

 4                 iv.    The State will permit Plaintiffs the opportunity to comport their

 5          behavior to any further limitations or restrictions that the State may impose in any

 6          future modification, revision, or amendment of the Governor’s orders or similar

 7          legal directive;

 8                 v.     The State will cease threatening criminal violations against Plaintiffs’

 9          churches, pastors, and congregants; and

10                 vii.   The State will not bring any criminal, public health, or other

11          enforcement actions against Plaintiffs as threatened in the Governor’s orders and

12          public statements.

13          C.     That the Court enter a declaratory judgment declaring that the Governor’s

14     orders, both on their face and as applied, are unconstitutional under the United States

15     Constitution, and further declaring that:

16                 i.     The State has violated Plaintiffs rights to freedom of assembly by

17          impermissibly prohibiting and restricting religious gatherings;

18                 ii.    The State has violated Plaintiffs rights to freedom of speech by

19          impermissibly prohibiting and restricting religious gatherings;

20                 iii.   The State has violated Plaintiffs rights to free exercise of religion by

21          impermissibly prohibiting and restricting religious gatherings, by substantially

22          burdening their religious exercise according to their sincerely held beliefs, by

23          applying gathering criteria that are neither neutral nor generally applicable as to

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 1          religious and non-religious gatherings, by establishing a religious gerrymander

 2          against religious worship gatherings, by establishing a system of individualized

 3          exemptions that exclude similarly situated non-religious gatherings from the

 4          prohibitions and restrictions applicable to Plaintiffs’ religious worship gatherings,

 5          and by imposing government directives on the manner in which Plaintiffs may

 6          conduct religious worship services, such as prohibiting singing and chanting;

 7                 iv.    The State has violated Plaintiffs’ rights to equal protection of the laws

 8          by impermissibly prohibiting religious gatherings, and by applying criteria that

 9          treats religious gatherings in a discriminatory and dissimilar manner as that applied

10          to various non-religious gatherings and protesters, rioters, and looters;

11                 v.     The State has violated the Establishment Clause by impermissibly

12          demonstrating hostility towards religious gatherings and by impermissibly showing

13          favoritism to certain non-religious gatherings, including mass protests; and

14                 vi.    The Governor has violated the Guarantee Clause by impermissibly

15          exercising executive authority in an unconstitutional manner.

16          D.     That the Court award Plaintiffs nominal damages for the violation of

17     Plaintiffs’ constitutional rights.

18          E.     That the Court adjudge, decree, and declare the rights and other legal

19     relations within the subject matter here in controversy so that such declaration shall have

20     the full force and effect of final judgment.

21          F.     That the Court retain jurisdiction over the matter for the purposes of

22     enforcing the Court’s order.

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 1          G.     That the Court declare Plaintiffs are prevailing parties and award Plaintiffs

 2     the reasonable costs and expenses of this action, including a reasonable attorney’s fee, in

 3     accordance with 42 U.S.C. § 1988.

 4          H.     That the Court grant such other and further relief as the Court deems

 5     equitable and just under the circumstances.

 6                              Respectfully submitted,

 7

 8     /s/ Nicolai Cocis                             /s/ Daniel J. Schmid
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                                           VERIFICATION
 1
            I, Che Ahn, am over the age of eighteen years and am the Pastor of Harvest Rock
 2
       Church and President of Harvest International Ministries. The statements and allegations
 3
       that pertain to me and/or Plaintiffs Harvest Rock Church or Harvest International
 4
       Ministry or which I make in this VERIFIED COMPLAINT are true and correct, and
 5
       based upon my personal knowledge (unless otherwise indicated). If called upon to testify
 6
       to their truthfulness, I would and could do so competently. I declare under penalty of
 7
       perjury, under the laws of the United States and the State of California, that the foregoing
 8
       statements are true and correct to the best of my knowledge.
 9
            Dated:        July 16, 2020
10
                                              /s/ Che Ahn
11                                            Che Ahn

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